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                                    Vote Harvesting/Mail Ballot
                                                                                                                              6 counts possession of                                      Pied guilty to possession of official ballot or carrier
               Johnny Wayne          Fraud/Assistance Fraud -
   Hardeman                                                              2004 Primary Election       013449                   official ballot or carrier       6   11/04/05   EC 86.006   envelope of another. 2 years probation, $2000
                   Akers           Possession of an official ballot
                                                                                                                               envelope of another                                        fine
                                            bv another
                                    Vote HarvestiMQ/Mail Ballot
                                     Fraud/Assistance Fraud •                                                                4 c:aunts possessing an
               Virginia Ra mos                                           2005 School District                                                                                             l Y••r pre•trial diversion, 12 months community
    Nueces                          Method of returning marked                                    0S-CR-9S0!'H                official ballot or carrier       4   03/22/06   ECM.006
                    Garaa                                                     El<,ction                                                                                                   supervision
                                     ballot~ unlawful assist;;:m<::e 1                                                         envolope of another
                                                   i
                                    Vote Harvesting/Mail Ballot
                                     Fraud/Assistance Fraud -                                                                 1 count possessing an
                                                                         2005 School District                                                                                             1 year pre-trial diversion, 12 months community
    Nueces    Elida Garza Flores    Method of returning marked                                    05-CR-9805-4                official ballot or carrier           03/22/06   EC 86.006
                                                                              Election                                                                                                    superv1s1on
                                    ballot, unlawful assistance,                                                               envelope of another
                                           ;:ic;c;ic;tinn votPr
                                    Vote HarvestiMQ/Mail Ballot
                                                                                                                                                                                          Pied nolo oontendere to z counts of po.,.essing an
                                     Fraud/Assistance Fraud •                                                                 2 c:aunts possessing an
               Isabel Lisa Rios                                          2005 School District                                                                                             official ballot or carrier envelope of another, l
    Nueces                          Method of returning marked                                    0 S·CR-9$0$-3               official ballot or carrier           03/22/06   ECM.006
                  Gonzalel                                                    El<,ction                                                                                                   year deferred adjudication, $500 fine, U. months
                                     ballot~ unlawful assistan<::e 1                                                           envolope of another
                                                                                                                                                                                          c.omrnunity supervision
                                                   i
                                    Vote Harvesting/Mail Ballot
                                                                                                                                                                                          Pied guilty to 1 count of illegally possesing an
                                     Fraud/Assistance Fraud -                                                               1 count illegally possessing
              Josefina Marinas                                           2005 School District                                                                                             official carrier envelope of another. 1 year
    Nueces                          Method of returning marked                                    05-CR-9807-1              an official carrier envelope           05/04/06   EC 86.006
                   Suarez                                                     Election                                                                                                    deferred adjudication, $500 fine, 12 months
                                    ballot, unlawful assistance,                                                                     of another
                                                                                                                                                                                          community supervision
                                           ;:ic;c;ic;tinn votPr
                                    Vote Harvesting/Mail Ballot                                                             4 counts possession of an                                     FouM guilty by Jury of 4 counts <:>f p<:>ssession <:>f
    Re:ev~s    Trine Villalobos     Fraud - Method of returning          2004 Primary El<action       25,185                  offlclal ballot or official      4   06/27/06   EC 86.006   an official ballot or offlcl.el carrier etivelop.Ea of
                                           marked ba Ilot                                                                  carrier envelope of another                                    another. 10 days jail I probated for 6 months
                                  Vote Harvesting/Mail Ballot
                                   Fraud/Assistance Fraud -
                                Unlawfully obstructing watcher,                                                                                                                           Pied guilty to possession of an official ballot or
                                                                                                                              7 counts possessing an
                                     unlawfully witnessing                                                                                                                                official carrier envelope of another. 8 months
    Bowie     Willie Howard Ray                                  2004 Primary Election            06M1309-CCL                 official ballot or carrier           07/17/06   EC 86.006
                                 application for more than one                                                                                                                            deferred adjudication, $200 fine Original
                                                                                                                                envelope of another
                                      application, unlawful                                                                                                                               indictment dismissed.
                                assistance, security of ballots,
                                  ballot boxes and envelopes
                                     Vote Harvesting/Mail Ballot
                                      Fraud/Assis ta nee Fraud -
                                   Unlawfully obstructing watcher,
                                                                                                                              2 c:aunts possessing an
                                        unlawfully witnessing
    Bowie     J•millah Johnson                                     2004 Prim•ry Election          06MQ302•CCL                 official ballot or carrier           07/17/06   EC 86.006   6 months deferred •diUclication, $200 fine
                                    application for more than one
                                                                                                                               envolope of another
                                        applicijtion 1 unlawful
                                   assistatice, security cf ballot.s,
                                     ballot boxes and envelopes
                                   Unlawfully obstructing watcher,
                                        unlawfully witnessing
                                                                                                                              7 counts possessing an
                                    application for more than one
    Bowie      Melinda Hunter                                       2004 Primary Election         06M0301-CCL                 official ballot or carrier           07/17/06   EC 86.006   6 months pre-trial diversion
                                         application, unlawful
                                                                                                                                envelope of another
                                   assistance, security of ballots,
                                     ballot boxes and envelopes

                                     Vote Harvesting/Mail 6allot
                                                                                                                            2 counts illegal voting,(4)
                                   Fro ud/Assist• nee Fro ud/lllegal                                                                                                                      Plod guilty to Z counts illogal voting, 2 years
    Nu<,ces   Maria Dora Flores                                      2.006 Primary El<,ction      06-CR -2.166-l'l           marking• ballot without               0$/04/06   EC 64,012
                                    Voting , Unlawful assistance,                                                                                                                         doferred adj probation, $750 fine
                                                                                                                                  veter's consetit
                                     unlawfully lnflu<ancing vot<ar
                                    Vote Harvesting/Mail Ballot                                                                  5 counts illegally
    Reeves       Anita Baeza        Fraud - Method of returning          2004 Primary Election        25,186                   possessing ballots for              08/28/06   EC 86.006   6 months pre-trial diversion
                                           marked ballot                                                                          another oerson




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                                                                                                                                      3 counts !legal voting-(1)
                                                                                                                                     in!;:;ligible vot!;:;r non.,dti~em,
                                                                                                                                              1 coutit unlawful
                                                                                                                                         asslstahc~, 11 counts
                                             Illegal voting, fraudul•nt                                  2006-8-6465, 2006-8-   possessing an official ballot                                               Jury verdict of guilty on z counts illegal voting, l
                                                                                                                                                                                           EC 64.012 / PC
     Calhoun          Debra Brisem:i          registrations, and vote        2006 Primary Election        6466, 2006-8-646 7,     or carrier envelope of                   Z7   06/25/07                    count talmperit'iQ with a government record. 5
                                                                                                                                                                                               37.10
                                           harvesting/mail ballot fraud                                ZOO!'HH'i4M, ZOO!'HH\469     another, 6 oounts                                                       years TDCl
                                                                                                                                    tampering with a
                                                                                                                                      governmental record, 6
                                                                                                                                     counts false: stateme:ht an
                                                                                                                                      a registration application
                                                                                                                                                                                                            Pied guilty to tampering with government record.
                                                                                                                                      4 counts illegal voting, 3
                        Raymond                                                                                                                                                                             2 years TDCJ suspended for 5 years community
      Refugio                                Illegal Voting, Tampering       2006 Primary Election 2007-2-4809, 2007-2-4810             count tampering with                    10/09/07     PC37.10
                        Villarreal                                                                                                                                                                          supervision, $1,500 fine, 90 days jail, $2,090
                                                                                                                                        governmental record
                                                                                                                                                                                                            restitution
   Starr/ Brooks      Noelia Lopez:                Illegal voting            2006 General Election          07·07·09767 CR               l count illegal voting                 01/24/08     EC 64.012           1
                                                                                                                                                                                                            Dism d
                                            Forgery, tampering with a                                                                    Possession of forged
       Hays          Mark Littlefield                                        2006 Special Election               89,288                                                         02/01/08     PC 32.21       1 year pre-trial diversion, $300 donation
                                             qovernment document                                                                             instrument
                                                                                                                                                                                                            Plod guilty to illogal voting, 2 years deferrod
                                                                                                                                      1 count illegal voting-(Z)
   Sta rt/ Breaks   .loSEa: R~ne: Gomez            Illegal \/OtiMQ           2006 G<anaral El<action        0 7-05-09 743 CR                                                    05/01/08     EC 64.012      adjudication, $300 fine, 2 years community
                                                                                                                                       voting mti:re th.en once
                                                                                                                                                                                                            su etvisioh M<:>tion t<:> Ad Udlcate)
                                                                                                                                                                                                            Pied guilty to 12 counts possessing a ballot
                                                                                                                                       12 counts possessing a
                                            Vote Harvesting/Mail Ballot                                                                                                                                     without the voters's consent. 2 years deferred
   Starr/ Brooks     Oscar Luis Rios                                         2006 Primary Election          07-05-09741 CR            ballot without the voter's           12   05/01/08     EC 86.006
                                                      Fraud                                                                                                                                                 adjudication, $300 fine, 2 years community
                                                                                                                                               consent

                                                                                                                                          l count unlawfully
                                                                                                                                                                                                            Jury verdict of guilty to engaging in organiz•d
                                                                                                                                      ac:c:epting contribution~ 1
                        Michael C.        Unlawfully accepting campaign                                567,;H'l, 56733-t\,   56734                                                                          c:rirninijl ac:tivity, 10 yeijrs c:onfinemf::1:nt,
      Potter                                                                 200$ Primary Election                                    ,ount orgijnii!;:;d <::rirninal           06/LZ/0$      PC 71-0Z
                        Shumate                 donations, bribery                                                  e                activity,1 count unlawfully
                                                                                                                                                                                                            suspended for$ YE!:ars, <::ornmunity sup!;:;rvision
                                                                                                                                                                                                            with 180 days Joli as• c<:>nditlon, $5 1000 flee
                                                                                                                                      acc<aptiMQ COMtrlbUtlon,
                                           Vote Harvesting/Mail Ballot                                                                                                                                      Pied guilty to possession of official ballot or carrier
                                                                                                                                       6 counts possession of
                                             Fraud/Assistance Fraud,                                                                                                                                        envelope of another. 1 year deferred
   Duval/ Brooks       Lydia Molina                                          2006 Primary Election        08-01-09864, 11479           official ballot or carrier          6    10/02/08     EC 86.006
                                          unlawful buying and selling of                                                                                                                                    adjudication, $300 fine, 12 months community
                                                                                                                                        envelope of another
                                                 ballot materials                                                                                                                                           suoerv1s1an
                                           Vote Harvesting/Mail 6allot                                                                                                                                      Pied guilty to poss•ssion of official ballot or carrier
                                                                                                                                       6 ,ounts possession of
                                             fraud/Assistanoo Fraud,                                                                                                                                        envelop<, of another. 1 y<,ar deforred
   Duval/ Brooks      Maria Soriano                                       2006 Primary El<,ction          0$·01·09$!'\3, 114$0         official ballot or carri<,r         6    10/0Z/0$     EC $6,006
                                          unlawful buying and sol ling of                                                                                                                                   adjudication, $300 fine, 1Z months corrnnunity
                                                                                                                                        envel<:>pe <:>f oMOther
                                                  ballot materials                                                                                                                                          sunetvisioh
                                                                                                                                                                                                            Pied guilty to possession of official ballot or carrier
                                           Unlawful assistance, unlawful                                                               3 counts possession of
                      Elva Gutierrez                                                                                                                                                                        envelope of another, 1 year deferred
   Duval/ Brooks                            buying and selling of ballot     2006 Primary Election        08-01-09865, 11482           official ballot or carrier               10/02/08     EC 86.006
                           Lazo                                                                                                                                                                             adjudication, $300 fine, 12 months community
                                                     materials                                                                          envelope of another
                                                                                                                                                                                                            suoerv1s1on
                                           Vote Harvesting/Mail Ballot                                                                                                                                      Plod guilty to possession of official ballot or carrier
                                                                                                                                       2. COUt'it.s J)d:SSE!:SSld:n of
                      Marla Adelina         Fraud/Assistance Fraud,                                                                                                                                         envel<:>pe of oMOther. 1 year deferred
   Duval/ Brooks                                                         2006 Primary Electl<:>n          08-01-098&6, 11481           official ballot or carrier               10/02/08     EC 86,006
                          Trigo           unlawful buying and selling of                                                                                                                                    adjudication, $300 flee, 12 months community
                                                                                                                                         •nvelope of anoth•r

                                            Unlawfully divulged voting                                                                    1 count unlawfully
                     Jami Parkinson                                             2008 Municipal                                                                                                              revealing information before polls close. 2 years
      Goliadc                              results prior to the closing of                                   08-8-8967 CR               revealing information                   11/12/08     EC 61.007
                        Billings                                                   Election                                                                                                                 deferred adjudication, $3,000 fine, 2 years
                                                        polls                                                                             before polls close
                                                                                                                                                                                                            comrnunitv suoervision
                                                                                                                                       l l counts possessing a                                              Pied guilty to 11 counts possesing a ballot without
                                            Vote Harvesting/Mail Ballot         2006 Municipal
   Starr/ Brooks     Guada Iupe Rios                                                                        08·08·09945 CR            ballot without the voter's           ll   03/16/09     EC 86.006      the votet)s consent. 2 years pro bated for 4 v•a rs
                                                      Fraud                        El<,ction
                                                                                                                                                 C0t1S!;:;0t                                                probation, $500 fino, 60 days house arrost
                                                Illegal Voting/Vote                                                                   15 counts of possessing a
   Starr/ Brooks      Oralia Frausto           Harvesting/Mail Ballot        2006 Primary Election          07-05-09738 CR            ballot without the voter's           15   03/26/09     EC 86.006      1 year pre-trial diversion
                                              Fraud/Assistance Fraud                                                                            consent
                                                 Illegal Voting/Vote                                                                  s c:ou nts of possessing a
   Starr/ Brooks     Maria Gonaalo,            Harvesting/Mail Ballot        2006 Primary Election          07'05·09742 CR            ballot without the voter's                03/26/09     ECM.006        l yeijr pre~trial divE1:rsion
                                              Fr
                                           Misrepresentation of identity -
     Aransas/                                                                                                                            Misrepresentation of                                               Pre-trial diversion for 1 year, 60 hours of
                     Gallaher, Todd       intent to manipulate election or 2008 Primary Election              C08999934                                                         05/21/09    E.C. 255.005
      Travisc                                                                                                                                  identity                                                     community service, completed early.
                                                   iniure candidate
                                                                                2008 Municipal                                        1 COLI nt of ii Ileg• I votl ng-                                      Pied guilty for 5 y<aars TDCJ, probat<ad for 5 years
     Hidalgo'          Pa ulito Ni lo          Illegal Voting - Felon                                        CR-26Z2-09•F                                                       09/29/09    E,C. 64.012
                                                                                   Election                                           (l) ineligible voter felon                                            of community supervision, l day in jaii, $500 fine
                                           Divulged election results prior
                                              to the closing of polls on     2007 School District                                                                                                           Pied guilty to 3 counts of false report to a peace
                       Leland Mac                                                                                                      3 counts false report to
        Hill                              election day; made false report       and Municipal                  M0593-09                                                         10/14/09     PC 37.08       officer. 2 years probation, $2000 fine, 90 days in
                        Coffman                                                                                                             peace officer
                                          to peace officer about divulging         Election                                                                                                                 jail, probated
                                                        results




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       Harri:~{                                                              2008 Primary El<action         1215818                voter impersonijtion at              10/06/09       EC 64.012       information, 1 year def•rred adjudication, $200
                         crowder
                                                                                                                                          ollln blace                                                  fine
                                                                              2007 Municipal and                                 2 counts illegal voting-(1)                                           Pied guilty to illegal voting, 2 years TD□, $500
    Starr/Brooks        Raul Reyna            Illegal Voting - Felon                                    09-04-09980 CR                                                  11/05/09       EC 64.012
                                                                                School Election                                     ineliqible voter felon                                             fine
                                                                                                                                                                                                       Plod guilt; to illogal voting, 10 yoars TDCl-
                                                                              2007 Municipal and                                 2 counts illegal voting-(1)
    Starr/Bra<:>ks     Cynthia Pena           lll<agal Voting - Fel<:>n                                 09-04-09881 CR                                                  11/05/09       EC 64.012       susp<lndod, 4 years community sop•rvision, $500
                                                                                Schoel El•ction                                     ieoligible vot•r felM
                                                                                                                                                                                                       fine
                                                                                2007 Municipal                                    1 count illegal voting-(1)                                           Pied guilty to 1 count of illegal voting, 5 years
    Starr/Brooks     Elizabeth Martinez       Illegal Voting - Felon                                    09-04-09982 CR                                                  11/05/09       EC 64.012
                                                                                   Election                                         ineliqible voter felon                                             TDCJ
                                                                                                                                     2 counts al official                                              Dismissed lndictment. Defense motion for
       Panola           Orew Nixon          Offidal oppression; voting       2006 Special E:lection       2007-C-0193                                                   01/2a/10       PC 39.03
                                                                                                                                         OPPrnssion                                                    collateral estowol orant•d.
                                                                                                                                     7 counts knowingly
      Dimmit/         Maria Mendoza        Vote Harvesting/Mail Ballot                                                            provide false information                                            12 months pre-trial diversion, $60 supervision
                                                                             2006 Primary Election      08-11-00052 CRL                                                 04/15/10      EC 84.0041
      LaSalle             Garcia                     Fraud                                                                        on an application for an                                             fee, 80 hours of community service
                                                                                                                                      earlv votina ballot
                                                                                                                                    7 counts knowingly
      Dimmit/                              Vote HarvestiMQ/Mail Ballet                                                            provld• false information
                     Estela Cruz Sae:ht                                      2006 Primary El<action    08-12-00063 CRL                                                  04/15/10      EC 84.0041       6 months pre-trial dlver;;l<:>n, $60 supervision fM
      LaSalle                                        Fraud                                                                        on ati app.llC"<3tiati far an
                                                                                                                                                         II
                                                                                                                                    4 counts of method of                                              Pied guilty to unlawful possession of ballot, 12
   Jim Wells/ Live      Zaida Cantu        Vote Harvesting/Mail Ballot
                                                                             2008 Primary Election           20068                 returned marked ballot           4   06/24/10       EC 86.006       months probation, 180 days in jail (suspended),
        Oak                Bueno                     Fraud
                                                                                                                                        (less than 10)                                                 $200 fine, 40 hours of community service

                                                                                                                                   8 counts of method of                                               Pied guilty to unl•wful possession al ballot, 12
   Jim Wells/ Live                         Vote Harvesting/Mail 6allot
                       Norma Lopez:                                          2008 Primary Election           20067                returned marked ba Ilot           8   06/24/10       EC 86.006       months probation, 180 days in jail (suspended),
        Oak                                          fraud
                                                                                                                                       (loss than l 0)                                                 $200 fine, 40 hours of community serl'ic•

                                                                                                                                    3 counts of method of                                              Pied guilty to unlawful possession of ballot, 12
   Jim Wells/ Live                         Vote Harvesting/Mail Ballot
                      Cynthia Lopez                                          2008 Primary Election           20066                 returned marked ballot               06/24/10       EC 86.006       months probation, 180 days in jail (suspended)
        Oak                                          Fraud
                                                                                                                                        (less than 10)                                                 $200 fine, 40 hours of community service.

      Hidalgo/        Ruben Trewino       !!legal voting• folon, bribery,    200$ School Oistrict
                                                                                                        09-09-10116 CR
                                                                                                                                  1 count illegal voting-(1)
                                                                                                                                                                        06/17/10       EC 64.012
                                                                                                                                                                                                                   a
                                                                                                                                                                                                       Pied goilty, years TOCl-!D suspended for$
       Bra<:>ks          G.ertia             <3nd d:ffit:ial mistOtidUct          Electl<:>n                                        lneligibl<a votor felM                                             years community sup•r111Sl<:>n, $500 fine

                                           Vote Harvesting/Mail Ballot                                                           1 count of carrier envelope
                                                                                                                                                                                                       Pied guilty, 6 months community superv1s1on, 180
       Starrc          Raul Pena, Jr.     Fraud - Unlawful possession of 2010 Primary Election             CR-10-371              action by another person              06/22/10      EC 86.0051
                                                                                                                                                                                                       days in jail (suspended), $500 fine
                                          56 mail-in ballots by candidate                                                              other than voter
                                           Vote Harvesting/Mail Ballot
                                           Fraud - Pr<:>viding fraudulent                                                           l count of unlawful
    Starr/Brooks      Mary Lou Garza                                         2006 Prim•ry Election      07·07·09768 CR                                                  09/15/10       EC 13.145                                               1
                                                                                                                                                                                                       Jury trial resulting in hung jury, dism d
                                            registration cards to vote                                                            delivery of a certificate

      Hidalgo/         Mario Manuel       Illegal voting - felon, bribery,   2008 School District                                 1 count illegal voting-(1)
                                                                                                        09-09-10117 CR                                                  11/10/10       EC 64.012       Pied guilty, 2 years TDCJ-ID
      Brooks             Medrano              and official misconduct               Election                                        ineligible voter felon
                                                                                                                                    1 count <:>f unlawful                                            Pied guilt; to Poss•sslon <:>fa Ballot and Unlawful
                         Christina         Vote Harvesting/Mail 6allot                                                             assistance, 1 count d:f                                           Assistance, and r<ac•ived 1 year deferrM
   Duva I/Live oak                                                           2008 Primary Election        20080, 20081                                                  12/14/10   EC 64,036, 86,006
                       Lich ton berger       Fraud/Assistance Fraud                                                                 method of returned                                               adjudication, and paid a $1000 fine and court
                                                                                                                                          r        II
                                                                                                                                    1 count of unlawful
                      Andrea Campos        Vote Harvesting/Mail Ballot                                                             assistance, 1 count of                                              Pre-trial diversion 6 months, $3,500 donation to
   Duval/Live Oak                                                            2008 Primary Election       20082, 20083                                                   12/14/10   EC 64.036, 86.006
                         Bierstedt          Fraud/Assistance Fraud                                                                  method of returned                                                 the county
                                                                                                                                       marked ballot
                                                                                                                                    4 counts of unlawfol                                               Pied goilty to 4 counts of Possession of a Sal lot
                                                                                                      20084 I 20085, 20086,
                                           Vote HarvestiMQ/Mail Ballet                                                            assistance, 4 counts d:f                                             atid 4 couhts cf Unlawful Assistence:, and received
   Duval/LIV<a Oak Alicia P<ana P•re,                                        2008 Primary El<action   2008 7, 20088, 20089,                                         8   12/14/10   EC 64,036, 86,006
                                            Fraud/Assistance Fraud                                                                   m•thod of roturn<ad                                               1 year JaII 1 probated fer 12 m<:>nths, and !"'Id a
                                                                                                         20090, 20091
                                                                                                                                       marked ba Ilot                                                  $1000 line and court casts
                                                                                2009 Municipal                                                                                                         Pied guilty, received four years of deferred
                                                                                                                                  1 count of Illegal Voting-
       Smith           Ronald Marsh               Illegal Voting                Election - Local          241-1682-11                                                   03/23/11      E.C. 64.012      adjudication, a $1,000 fine, and 100 hours of
                                                                                                                                     (1) ineligible voter
                                                                                    Ootion                                                                                                             community service hours
                                                                                2009 Mu nici P• I
                                                                                                                                  l count of Illeg•I Voting•                                           Plea bargain in 241-1682-ll for guilty plea ta
       Smith         Ann Mario Marsh              lllegal Voting                Election , Local          Z41·1!'i$1·11
                                                                                                                                     (l) ineligibl• voter
                                                                                                                                                                        03/23/11      e,c. 64,0iZ      def'ci adj resulting in dismissal.
                                          Unlawfully accepting a voter,
                      Ester Sandoval        unlawfully permitting the                                                            1 count of tampering of a                                             Pied guilty to one count of misdemeanor
       Bexar                                                                 2010 Primary Election        2010-W-0375                                                   03/23/11       P.C. 37.10
                     Martinez-Moreno      deposit of a ballot, and illegal                                                         governmental record                                                 Tampering, 1 year probation
                                                      votina
                                                                                                                                    2 count;; of att<ampted
                                                                                                                                                                                                       Pied guilty to attempted illegal voting for
       Dallas/                                Illegal Voting • Voter                                                               illegal voting,(3) voter
                     Delores McMillian                                       2010 Primary Election      l10820 l1 CCL·A                                                 06/16/11      E,C. 64.012      impersonating a voter, 1 year probatit:m, paid
      Rockwall                                    !mpE1:rso mitio n                                                               impersonation at polling
                                                                                                                                                                                                       $2Z7 court costs,
     Duval/ Jim        Regino Cantu                                                                                               1 count of illlegal voting-                                          Pied guilty for 2 years probation, 90 days in jail,
                                              Illegal Voting - Felon         2008 Primary Election      11-02-13251-CR                                                  08/31/11      E.C. 64.012
       Wells             Salinas                                                                                                  (1) ineliqible voter felon                                           and a $2000 fine




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                                                                                                                                         l count al iIleg aI voting•
                 Reyna Al ma nu                        Illegal voting                                        l0·03·10342·CR                                                    12/0l/ll
                                                                                                                                         (3) voter impersonation                                                                          I as a condition of probation,

                                             Voter ImpersonatIon (voting for
                                             20 years using the identity of a
                                              deceased voter still on voter                                                                                                                                      Statute of limitations tolled by filing of indictment
                                              rolls, while voting herself by                                                            2 counts of illegal voting -                                             on 9/18/11. Defendant declared incompetent to
     Bexar        Mary Comparin                                               2008 General Election           2011-CR-7939                                                                  E.C. 64.012 (a) 3
                                               mail ballot), benefits fraud                                                                voter impersonation                                                  stand trial, Cause 2011-CR-7939 closed, case left
                                                (receiving SS benefits for                                                                                                                                                            pending.
                                                  herself and a deceased
                                                        individual)
                                                                                                                                                                                                                                                         icatIon
                                                                                                                                                                                                                                                          ~ommt,.1nity
                 Shank, Ch ristl na                                                                                                         1 count of Unlawful
     Br.e:td:S                                UM lawfully lMftUeMClng Voter      2010 Gen<aral Electl<:>n   11-05590-CRM-CCLl                                                  02/06/12       E,C. 64.036                                 rt costs, $500.00 fine,
                    Thomas                                                                                                                       Assist.ence:
                                                                                                                                                                                                                                         iMQ assistance iM the election

     Dallas/                                    Aggravated perjury in                                                                     4 counts of aggravated
                 Name Removed                                                    2010 Primary Election                                                                     4   02/16/12       E.C. 64.012       Expunged
    Rockwall                                 connection with Illegal Voting                                                                       perjury
     Dallas/                                                                                                                             1 count of illegal voting -
                 Name Removed                          Illegal Voting            2010 Primary Election                                                                         02/16/12       E,C. 64.0lZ       Expunged
    Rockwall                                                                                                                                  inelioible voter
     Dallas/                                                                                                                            3 counts of illegal voting -
                 Name Removed                          Illegal Voting            2010 Primary Election                                                                         02/16/12       E.C. 64.012       Expunged
    Rockwall                                                                                                                                 ineliqible voter
     Dallas/                                                                                                                            3 counts of illegal voting ,
                 Name Removed                          lll•gal Voting            2010 Primary El•ction                                                                         02/1!'\/12     E,C. 64.012       Expungod
    Rockwall                                                                                                                                   ineliaibl~ voter
                                                                                                                                                                                                                Elected Justice of the Peace convicted at bench
                                                                                                                                                                                                                trial of illegal voting - ineligible voter, 5 years
     Dallas/                                                                                                                            2 counts of illegal voting -
                 Carlos Medrano                        Illegal Voting            2010 Primary Election          2-11-418                                                       02/27/12       E.C. 64.012       TDCJ, probated for 5 years, 180 days in jail as a
    Rockwall                                                                                                                                 ineligible voter
                                                                                                                                                                                                                condition of probation, $2500 fine, removed from
                                                                                                                                                                                                                office
     Dallas/      Robert Edward                                                                                                         3 counts of illegal voting •                                            In exchange for acknowledgement al offense and
    Rockwall        Medrano
                                                       lllegal Voting            201() Primary Election         2-11·420
                                                                                                                                             inoligible voter
                                                                                                                                                                               02/16/12       e,c. 64.0lZ       c.oop!;:!rijting testimony ijt triijl 1 ~hijrges disrn'd
                                                                                                                                                                                                                Pied guilty to two counts of aggravated perjury, 4
                                                                                                                                                                                                                years TD □ probated for 4 years community
     Dallas/                                   Illegal Voting, aggravated                                                                 6 counts of aggravated
                 Rolando Medrano                                                 2010 Primary Election          2-11-416                                                   6   02/29/12        P.C. 37.03       supervision, $5,000 fine, $219 Court Coust., 45
    Rockwall                                             perjury                                                                                  perjury
                                                                                                                                                                                                                days in jail as a condition of probation, work
                                                                                                                                                                                                                release dav for dav
                                                                                                                                        1 count of illlogal voting ,
     Dallas/                                   lllegal Voting, aggravatod                                                                                                                   E.C. 64,012, P.C.
                 Raqu<al Medtan<:>                                               2010 Primary El<action     2-11-108, 2-11-414         inoligible voter, S counts of       6   02/28/12                         Dlsm'd upoe conviction of defeMant in 2-11-418
    Rockwall                                             perjury                                                                                                                                  37.03
                                                                                                                                            aat1rav.eted    r·urv
                                                                                                                                        4 counts at possession at
                                                                                                                                        an official ballot or carrier
                                                                                                                                                                                                                Pied guilty to two counts of Unlawful Assistance,
                                                                                                                                          envelope, 3 counts of
                                               Vote Harvesting/Mail Ballot                                                                                                                                      two counts of Possession of a Ballot, and two
     Dallas/                                                                                                                                unlawful assistance                              E.C. 86.006,
                 Gilda Hernandez                Fraud/Assistance Fraud -         2010 Primary Election        11082011CCL-B                                                9   04/05/12                         counts of Failure to Provide Identifying
    Rockwall                                                                                                                              (influencing voter), 2                            64.036. 86.010
                                                    Influencing Voter                                                                                                                                           Information While Assisting a Voter, and received
                                                                                                                                         counts failure to provide
                                                                                                                                                                                                                one year of deferred adjudication and a $250.
                                                                                                                                           identifying info while
                                                                                                                                               ~c:c:ic:tinri \1nt,<>r

    Hidalgo/      Jose De Jesus                                                   2008 School District                                   l count illegal vating•(l)                                             Pied guilty, received 10 years TDCJ, probated for
                                              lllogal voting , felon, bribery                                09-0\H011S CR                                                     06/14/12        EC 64.012
     Brooks           Cano                                                             Election                                            ineligibl• voter felon                                               10 years, $1,000 fin•, and $313 court costs
   Henderson/                                                                       2009 Municipal                                       1 count of Illegal Voting-
                    Frank Ross                         Illegal Voting                                          241-1683-11                                                     06/19/12       E.C. 64.012       Dism'd
     Smith                                                                             Election                                             (1) ineliqible voter
                                                                                  2010 Mu nicpa I and                                                                                                           Pied guilty ta illegal voting (l ct), sentenced to 3
                                                                                                                                         2 oou nts iIleg a I voting by
    Hidalgo'       Angel Trujillo                 lll•gal Voting - Folon            School District           CR, 1914· 12-l':                                                 08/0$/12       E,C. 64.012       years TDCJ ... probated for community supervision,
                                                                                                                                              ineligibl• voter
                                                                                                                                                                                                                       f'
                                                  Unlawfully revealing                                                                     Unlawfully Revealing
                 Baudelia Zapata                                                    2008 Municipal
    Hidalgoc                                  information before the polls                                      12-03529                 Information before polls              12/27/12        E.C 61.007       No Bill
                     Rojas                                                             Election
                                                         close                                                                                    close
                 Sylvia Salos Velo                                                  200$ Municipal              12-03519                                                                      E,C. 64.012
    Hidalgo'                                           lll<agal Voting                                                                         Illegal Voting                  12/27/12                         Na Bill
                                                                                       Electl<:>n
                                                                                    2008 Municipal                                          Method of returning
    Hidalgoc      Salvador Vela                  Mail in ballot violation                                       12-03528                                                       12/27/12        E.C 86.006       No Bill
                                                                                       Election                                               marked ballot
                                                                                                                                                                                                                Pied guilty ta illegal voting, sentenced to 2 years
                                                                                                                                         l count al Illegal Voting•
    Hidalgo'     i:::f;!!rrnin-e C-estillo        lll~g~I Voting " i:::f;!!lon   2010 G•neral El•ction        CR-1913-1:H
                                                                                                                                          (1) ineligible voter folon
                                                                                                                                                                               011111n        E,C. 64 012       deferred with c:ammunity supervison and $100

                                                                                                                                                                                                                Pied no contest to Unlawfully Assisting Voter
                                               Vote Harvesting/Mail Ballot
                 Margarita Rangel                                                                                                           1 count Unlawfully                                                  (Class A Misdemeanor) 12 month county jail,
    Cameron                                     Fraud/Assistance Fraud;          2010 Primary Election       2013-DCR-00484                                                    05/30/13       E.C. 86.010
                     Ozuna                                                                                                                    Assisting Voter                                                   probated for 12 month community service.
                                                    Influencing Voter
                                                                                                                                                                                                                $250.00 fine




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CONFIDENTIAL                                                                                                                                                                                                                                    STATE112163
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                                                                                                                              Election Fraud Violations
                                                                                                                               Prosecutions Resolved




                Lorenzo Antonio           Illegal Voting • Voter                                                                                                                                                                        cad to 2 yea rs
                                                                                                      l0·03·10343·CR                                                 06/24/13
                    Almanza                   Impersonation                                                                                                                                                           unts, run concurrently, $313
                                                                                                                                                                                                            r
                                                                                                                                                                                                     Convicted during a jury trial, 1 count of illegal
                                                                                                                                                                                                     voting (1) ineligible voter, 3 years TDCJ, $10,000
                  James Alan                                                                                                  1 count of illegal voting -
   Montgomery                           Illegal Voting - Residency          2010 Special Election     12-03-025479-CR                                                06/28/13      E.C 64.012        fine and $364,00 in court costs
                    Jenkins                                                                                                        ineligible voter
                                                                                                                                                                                                     reversed/remanded by 14th COA, pending new
                                                                                                                                                                                                     tri;::il

   Montgomery                                                               2010 Sp•d•I oloction      12·03·02.SS1-CR                                                07/U/13       e.c. 64.0tz       l year Probation • Pr••trial Diversion Program

                                                                                                                                                                                                     Convicted during a jury trial, 1 count cf illegal
                                     False statement on application,                                                          1 count of illegal voting -
   Montgomery     Adrian Heath                                       2010 Special Election            12-03-025480-CR                                                10/31/13      E.C. 64.012       voting (1) ineligible voter. Sentenced to 3 years
                                               illegal voting                                                                      ineligible voter
                                                                                                                                                                                                     TDCJ and $10,000 fine, $334.00 in court costs.

                                                                                                                                                                                                     convicted •t jury trial, l count of illegal voting (l)
                                     False stijt!;:;rnemt on applicationl                                                     1 oount of illegal voting -                                            in•ligible votor. Sentenood by def•rred
   Montgomery   Sybil lea Doyle
                                               iIleg aI voting
                                                                            2010 Special Election     12·03-02S$3-CR
                                                                                                                                   ineligibl• voter
                                                                                                                                                                     04/02/14      e.c. 64.ou.       agreoment, 3 yoars TDCl, probated for S years,
                                                                                                                                                                                                     $5, ooo fi M and $ 3 59, oo In court costs,
                                                                                                                                                                                                     Convicted at bench trial, 1 count of illegal voting
                Roberta Margaret     False statement on application,                                                          1 count of illegal voting -                                            (1) ineligible voter. Sentenced by deferred
   Montgomery                                                        2010 Special Election            12-03-02585-CR                                                 04/02/14      E.C 64.012
                      Cook                     illegal voting                                                                      ineligible voter                                                  agreement, 3 years TD □, probated for 5 years,
                                                                                                                                                                                                     tsooo fine
                                                                                                                                                                                                     Pied guilty to illegal voting attempted (felon
                                                                               2010 Mu nici P• I                              l count of illegal voting •                                            voter) Class A misdeameanor. Sentenced to 10
    cam~rarf      Ga rzal Israel          Illegal Voting • Felon                                      2013·DCR·00957                                                 04/10/13      E.C 64,012
                                                                                  Election                                      ineligible voter (felon)                                             months confinement~ 2 years probation1 fine


                                     False statement on application,                                                          1 count of illegal voting -                                            1 year Deferred Prosecution Probation Eligible
   Montgomery   Name Removed                                         2010 Special Election             12-03-xxxxx-CR                                                05/15/14      E.C. 64.012
                                               illegal voting                                                                      ineligible voter                                                  for expunction after serving 12 mos probation.
                 William MetVih      Fels,, statemont on application,                                                         1 count of illegal voting -                                            3 years Deforrad Adjudication, $2 1500.00 fine,
   Montgomery                                                         2010 Speci•I Election           l2·03·02586·CR                                                 10/23/14      E,C,64,012
                    Berntsen                    ille al votino                                                                     inelioible voter                                                   334.00 in court costs

                                                                                                  14-CCR-02977-A/14-CCR-         3 counts - Carrier
                                                                                                  02983-A/14-CCR-02984-      Envelope Action: Person
                                                                                                   A/ 14-CCR-0 2985-A/ 14-  Other than voter (Misd B),
                                                                                                   CCR-02987-A/14-CCR-      3 counts - Assisting Voter                          E.C 86.0051 / E.C
                                       Vote Harvesting/Mail Ballot                                                                                                                                   Pied guilty to unlawful assistance of voter, 6
                                                                            2012 Primary Election 02989-A/14-CCR-02991-        Violation (Misd A), 3                              86.010 I E.C
    Cameron     Tomasa Chavez           Fraud/Assistance Fraud;                                                                                                 13   01/22/15                        month confinement, probated for 1 year of
                                                                                   Runoff          A/ 14-CCR-0 299 3-A/ 14-     counts - Method of                                86.006 / E.C
                                            Influencing Voter                                                                                                                                        community supervison, fine $250.
                                                                                                   CCR-02995-A/14-CCR-       Returning Marked Ballot                                 64.036
                                                                                                  02996-A/14-CCR-02997-         (Misd B), 4 count -
                                                                                                   A/ 14-CCR-0 2999-A/ 14-    Unlawful Assistance to
                                                                                                        CCR-03003-A                Voter (Misd A)

                                                                                                                             Indicted 1 count of illegal                                             Pied guilty ta illegal voting (felon) sentenced to
    Jim Wells   6•n ito Aranda Jr.         lll•gal Voting • Folon           2012 Primary El•ction     14-07-13904-CR         voting(l) ineligible voter              02/la/lS      e.c 64.012        10 years confinment, probated for 10 years of
                                                                                                                                   I     1                                                                              r
                                                                                                                             Indicted 1 count of illegal                                             Pied guilty to illegal voting (felon) Sentenced to
                  Mark Homero
    Jim Wells                              Illegal Voting - Felon           2012 Primary Election     14-07-13903-CR         voting(l) ineligible voter              02/18/15      E.C 64.012        10 years confinment, probated for 10 years of
                    Almaraz
                                                                                                                                 felon. 2nd Felony                                                   community suoervision.
                                       Unlawfully reJ<acting votors,                                                                                                                                 Pied guilty to counts 1-6 for attomptM lllegal
                   Jorg<a Luis                                                 2008 Mu nicl pa I
     Hidalgo                          illegal voting, aM unlawfully                                    CR·2623·0,H3          12 counts of illegal voting        12   02/25/15      E,C,64,012        VotiMQ (Closs A). Three y<aars community
                    Martinez                                                      Election
                                            acceotino voters                                                                                                                                         suoervision. counts 7~12 were dismissed
                                       Vote Harvesting/Mail Ballot                                                               1 Count - Unlawful                                                  Pied guility to unlawful assistance of a voter.
                                                                            2012 Primary Election
    Cameron      Facunda Garcia         Fraud/Assistance Fraud;                                       14-CCR-02980-A         Assistance to Voter (Misd.              03/19/15      E.C 64.036        Sentenced to 3 day confinement in county jail and
                                                                                   Runoff
                                            Influencina Voter                                                                                Al                                                      $250.00 fine.
                                                                                                                               c:oun ,.,    amer t:nve1ope
                                                                                                                             Action: Parson Other th•n
                                                                                                                             voter (Misd 6), 1 Count -
                                       Voto Harvosting/Mail Ballot                                                                                                              E.C $!'LOOS1 / E.C   1 y!;:;ar probijtion under diversion program
                                                                            2012 Primary Election 14-CCR-02979-A/14-CCR·        Mothod of Rotuming
    cam~ron      Bernice Garcl.e        Fraud/ASSIStahC<a Fraud;                                                                                                     04/08/15     86.006 / E.C       (D•farred Pros.) for offonse of uelawfully assisting
                                                                                   RUMff          03010-A/14-CCR-03011-A     Marked Ballot (Misd B), 1
                                            lMftUeMClng Vot•r                                                                                                                         64.036         voter.
                                                                                                                                  count - Unlawful
                                                                                                                             Assistance ta Voter (Misd
                                                                                                                                              1
                                                                                                                                1 Count -Method of
                                                                                                                              Retunng Marked Ballot
                                      Vote Harvesting/Mail Ballot                                                                                                                                    Pied no contest to Method of Returning Marked
                  Rafael Angel                                              2012 Primary Election                           more than 10 but less than
    Cameron                           Fraud - Method of Returning                                    2015-DCR-00269-D                                                06/12/15      E.C. 86.006       Ballot =10<20, (Class A). Sentenced to three
                    Elizondo                                                       Runoff                                     20 offical ballots/carrier
                                             Marked Ballot                                                                                                                                           days in county jail. and taken into custody.
                                                                                                                             envelopes. ( 3rd Degree
                                                                                                                                           Felony)




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CONFIDENTIAL                                                                                                                                                                                                                     STATE112164
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                                                                                                                        Prosecutions Resolved




                                    Voto Harvosting/Mail Ballot                                                         Returing Marked 6allot
                                                                   2012 Primary Election                                                                                                      Plod guilty to M<,thod of R<,turning Marked l'lallot
    Cameron    Jo•" Angel Garcia    Fraud - Method of Returning
                                                                          Runoff
                                                                                             2015-DCR-00270-D            fewer tho n 10 offical               06/1Z/1S      e,c. eMo6         <10 (Class B), Sentencod to two days oounty jail,
                                           Marked Ballot                                                               ballots/carrier env<,lopes
                                                                                                                                   F
                                                                                                                          3 counts - Carrier
                                                                                         14-CCR-02981-B/14-CCR-
                                                                                                                   Envelope Action: Person
                                    Vote Harvesting/Mail Ballot                          02986-6/14-CCR-02988-                                                                                Pied guilty to Carrier Envelope Action by Person
                                                                   2012 Primary Election                          Other than voter (Misd B),                             E.C 86.0051 / E.C
    Cameron    Margarita Ozuna       Fraud/Assistance Fraud;                              B/ 14-CCR-0 2990-B/ 14-                                        6    08/10/15                        Other than Voter. Sentenced to 15 days county
                                                                          Runoff                                    3 counts - Method of                                      86.006
                                         Influencing Voter                                CCR-02992-B/14-CCR-                                                                                 jail and $250.00 fine/court cost.
                                                                                                                   Returning Marked Ballot
                                                                                                 02994-B
                                                                                                                               (Mic:rl R1
                                                                                                                      1 count - Uelawful
                                                                                         14-CCR-02978-C/14-CCR-
                                                                                                                 Assistance to Voter (Mlsd
                                                                                         02998-C/14-CCR-03000-
                                                                                                                   A), l count• Assisting
                                                                                          C/l4-CCR·0300l·C/14·                                                            E.C 64.036/ E,C     Pl•d guilty to Class A misdemeanor Unlawful
                                    Vat• Harvesting/Mail Ballot                                                 Voter Violation (Miscl. A) ,4
                                                                   2012 Primary Election  CCR·03002 ·C/14·CCR •                                                            86.010/ E,C        A5Sistance of a Voter, 12 months al deferred
    Cameron     Vicentij Verino      Fraud/Assistance fraud;                                                     <::ounts ~ Cijrri!;:;r Envelope         10   0$/19/lS
                                         lnftuencing Voter
                                                                          Runoff         03004-C/14-CCR-03005-
                                                                                                                Action, Person Othor than
                                                                                                                                                                          8!'LOOS1/     e.c   adjudication, $ZSO fine, and r<,fraining from
                                                                                          C/14-CCR-03006-C/14-                                                                 $6.006         handling mail ballots and assisting votors.
                                                                                                                voter (Misd. BJ, 4 count;; -
                                                                                          CCR-03007-C/14-CCR-
                                                                                                                     Method of Returning
                                                                                                03008-C
                                                                                                                  Marked 6allot (Misd, 6)
                                                                                                                                                                                              Waived a jury trial and pied guilty to one count of
                                       Forgery/Tampering with                                                         1 Count of Tampering w /                                                3rd degree felony Forgery. Court convicted
     Harrisc     Avery Ayers       peitition for candidacy - forged 2014 General Election         1476757              a Governmental Record                  10/06/15       P.C. 32.21       defendant and sentenced him to five (5) years
                                               signatures                                                                       (SJF)                                                         TDCJ-Institutional Division. No fine, court costs or
                                                                                                                                                                                              n=>c:tit11tion
                                                                                                                                                                                              Pe gui t:y to Class B mis eme:anar Met a        or
                                                                                                                      1 Count - Carri<,r onvolope
                                                                                                                                                                                              Returning Sal lot Court sent<,nced her to on<, year
                                    Voto Harvosting/Mail Ballot                                                       Action, Person Othor than
                                                                   2012 Primary Election      14-CCR-02982-C                                                                                  of community supervision ... dE1:ferrnd ijdjudication,
    cam~ron      Sora h Perales      Fraud/Assistance Fraud;                                                          v<>ter (Misd. B) 1 1 Count -            10/28/15      E,C. 86.006
                                                                          RUMff               14-CCR-03009-C                                                                                  plus• fine of $150 aM court costs. DefeMant
                                         lMftUeMClng Votar                                                               Method of Returning
                                                                                                                                                                                              was ordered to re:ftaih frti:m assisting voters d:r
                                                                                                                        Marked 6allot (Misd, 6)
                                                                                                                                                                                              ntM~r nnlitin11i:-r:::i ~rMvitv
                                                                                                                          1 Count Illegal Voting                                              Pied no contest to Count 1 of the Indictment -
                                                                       2013 Municipal                                          (Municipal)                                                    Illegal voting (ineligible voter-non resident) in a
    Edwards     Michael Scotch       Illegal voting (residency)    Election 2014 Primary            6053               2 Counts of Tamper w/ a           4    12/07/15       E.C 64.012       plea bargain agreement. State to dismiss counts
                                                                           Election                                       Gov't rec 1 Count of                                                2, 3 & 4. Sentenced to 24 months of deferred
                                                                                                                        Illegal Voting (Primary)                                              adjudication community supervision, $500 fine.

                                                                                                                         l Count Illegal Voting                                               Pied no cant•st to count 1 of the Indictment•
                                                                      2013 Municipal                                          (Municipal)                                                     Illegal voting (inaligibl• voter-nan resident) in a
    Edwards     Tamara Scotch        lllegal voting (rosidency)    Eloction 2014 Primary            !'\054             2 Counts of Tampor w/ a           4    12/07/lS       e.c 64,012       pie• bargain agr<,emont Stat• to dismiss counts
                                                                           Eloction                                       Gov'\ rec l Count of                                                2, 3 & 4, $<,n\onced to Z4 months of doferred
                                                                                                                       Illegal voting (Primary)                                               adjudication commuelty supervision, $500 fine.
                                                                                                                                                                                              Co-defendant accepted criminal responsibility for
                                                                                                                                                                                              these offenses in plea resolving causes CR-15-
                                                                                                                      1 Count Carrier Envelope
                                                                                                                                                                                               08767-E, CR-15-08768-E, CR-15-08769-E, CR-15-
                                    Vote Harvesting/Mail Ballot                                                       Action: Person Other than
               Guadalupe "Lupe"                                       2013 Municipal          CR-15-08765-B,                                                             E.C. 86.0051     E.C. 08770-E, CR-15-08771-E, CR-15-08772-E, CR-15-
    Hidalgo                          Fraud/Assistance Fraud;                                                          Voter, 1 count Method of                07/11/16
                  Rivera, Jr.                                            Election             CR-15-08766-B                                                                    86.006          08773-E, CR-15-08774-E, CR-15-08775-E, CR-15-
                                         Influencing Voter                                                             Returning Marked Ballot
                                                                                                                                                                                               08776-E, CR-15-08777-E, CR-15-08778-E, CR-
                                                                                                                                 <10
                                                                                                                                                                                               15-08779-E, CR-15-08780-E, CR-15-08781-E,
                                                                                                                                                                                               and CR-15-08782-E.
                                                                                               CR·l5·08767·E
                                                                                               CR·l5·08768·E
                                                                                               CR-15-0$769-o
                                                                                               CR-15-0$770-o
                                                                                                                           1 C<>unt Unlawful
                                                                                               CR-15-08771-E
                                                                                                                        Assistance to Voter, &
                                                                                               CR-15-08772-E
                                                                                                                       counts Carrier Envelope                                                Pl•d guilty to Unlawful Assistance ta a Voter, class
                                    Vat• Harvesting/Mail Ballot                                CR·15·08773·E
               Guadalup• "Lupe"                                       2013 Municipal                                  Action: Parson Other than                                               A misdam•anor. Sentenc•d ta 365 days in jail,
    Hidalgo
                  Riv!;:;ra, Sr.
                                     Fraud/Assistance fraud;
                                                                         Election
                                                                                               CR·15·08774-E
                                                                                                                      Votor, 6 counts Method of
                                                                                                                                                         16   07/11/16      e,c. 64-036       probated for one year of community stJpE!:rvision
                                         lnftuencing Voter                                     CR-1S·08775-E
                                                                                                                       R<,turning Marked l'lallot                                             with a $500 fine.
                                                                                               CR-1S·0$776-E
                                                                                                                       < 10 1 3 oou nts Assist Ing
                                                                                               CR-15-08777-E
                                                                                                                            V<>ter Vlolatl<>n
                                                                                               CR-15-08778-E
                                                                                               CR·l5·08779·E
                                                                                               CR•l5•08780•E
                                                                                               CR-15-0$7$1-o




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CONFIDENTIAL                                                                                                                                                                                                                    STATE112165
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                                                                                                                                Office of the Attorney General of Texas
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                                                                                                                                         Prosecutions Resolved




                                                                                                                                                                                                                                         elo       n: Person
                                                                                                         CR-15-08761-B       CR·                                                                              Other than Voter, Class B misdemeanor. Pre-trial
                                         Vote Harvesting/Mail Ballot
                                                                               2013 Municipal            15-08762-B       CR-15-                                                                              diversion for a period of two years of community
      Hidalgo      Graciela Sanchez       Fraud/Assistance Fraud;                                                                Voter, 2 counts Method of                4   07/11/16      E.C. 86.0051
                                                                                  Election                08763-6        CR-15-                                                                               supervision, pay court and probations fees,
                                              Influencing Voter                                                                   Returning Marked Ballot
                                                                                                                 08764-B                                                                                      complete 24 hours of community service. Other
                                                                                                                                                    <10                                                       rh;::irni:,c;_ rlic;.rnic;.c;.i:,rl

                                                                                                                                                                                                              convicted by Jury on beth counts <:>f Illegal Voting -
                                                                               2012 General                                                                                                                   Non cltiten. Jury sentenced her to a p•rlod of
                                                                                                                                       2 counts of ill•g•I voting •
                                                                               Election, 2014                                                                                                                 eight (8) yaars in the Taxas Departm•nt of
   Dallas/ Tarrant Rosa Maria Ortega     Illagal Voting • Nan•Citizen                                            1434155                  ineligible voter (nan               02/09/17      E,C. 64.012
                                                                              Primary Run•Off                                                                                                                 Criminal Justice Institutional Division cm each
                                                                                                                                                 dtiaen)
                                                                                  olection                                                                                                                    count, sentences to run concurrently. $5,000.00
                                                                                                                                                                                                              fine and $329.00 in court costts.
                                             Illegal Voting - voter                                                                     2 counts of illegal voting,                                           Convicted of illegal voting (2nd deg. felony).
                  Manuel Rodriguez      impersonation, Illegal Voting -                                                                   ineligible voter (felon,                                            Sentenced to two (2) years in the Texas
      Edwards                                                           2014 General Election                      1730                                                       2/27/2017   E.C. 64.012 (a) 1
                          III               ineligible voter (felon,                                                                   unregistered), voted as 99-                                            Department of Criminal Justice Institutional
                                              unregistered voter)                                                                           yr-old grandfather                                                Division.

                                                                             Nov. 2014 general
                                                                             electl<:>n, May 2015
                                                                             RISD elactian, May
                                                                                 2015 City of
                                                                            Rocksprings election,                                      7 counts of illegal voting -
                      Rita Ren<,e       lll<,gal Voting• ineligible voter   March 2016 primary                                            ineligible vot<,r (non·                                             Prosecution Oiv!;:;rsion Program " stipulation of
      Edwards
                       JOhhSd:n                   (non-resident)             el<actiM, May 2016
                                                                                                              CX77790%40$
                                                                                                                                         resideet) - 2M degrM                 12/20/17      e.c. 64.0tz       guilt to 7 CCUMtS Illegal Voting
                                                                             City <:>f Rocksprings                                                Felony
                                                                             election, Nov. 2016
                                                                            general election, and
                                                                             May 20L7 City of
                                                                            Rocksprings el<,ction
                                                                            .Special CUL U1st. L -
                                                                             2/13/2016; Special
                                                                            COL Dist. 2 Runoff -
                                                                                                                                       4 counts of illegal voting -
                  Angel Antonio De      Illegal Voting- ineligible voter      4/2/2016; Joint                                                                                                                 Prosecution Diversion Program - stipulation of
       Webb                                                                                                   CX8826260117              ineligible voter (felon) -        4   01/29/18      E.C. 64.012
                      Leon, Jr.           (convicted felon, on paper)         Primary Runoff -                                                                                                                guilt to 4 counts Illegal Voting
                                                                                                                                           2nd degree Felony
                                                                                 5/24/2016;
                                                                              November 2016
                                                                              r.::.cnar;::il Fl.crtirm
                                                                             Nov. 2014 genera
                                                                            election; March 2016                                       3 counts of illegal voting -
                                        lllegal Voting- ineligibl" voter                                                                                                                                      Prose,ution Diversion Program ... stipulation of
       W<,bb      Arturo Ga rda, .Jr.                                       Oerno<::ratic primary;            CX$l409$0 l 0 l           ineligible voter (felon) -            01/29/1$      E.C. 64.0L2
                                          (convicted felon, on paper)                                                                                                                                         guilt to 3 counts lllegal Voting
                                                                            May 20L6 Democratic                                            2M d<agr<ae Felony

                                                                                                                                          2 counts of unlawfully
                                                                                                                                                                                                              Prosecution Diversion Program - stipulation of
                                        Unlawfully Influencing Voter in      Mar. 2018 Primary                                         influencing voter in polling                       E.C. 61.008; E.C.
      Medina        Patricia Barton                                                                           CX4240437617                                                    04/26/18                        guilt to 2 counts unlawfully influencing voter; 1
                                         Polling Place; Electioneering            Election                                                    place; 1 count                                   61.003
                                                                                                                                                                                                              count electioneering
                                                                                                                                              electioneerina
                                             Unlawfully Revealing                                                                          1 count onlawfully                                                 Prosecution Oiv!;:;rsion Program " stipulation of
        HIii        Aaren Terres         Information Before tM Palls        2018 Primary Runoff               CX79 54393 300             ter,.Je.ellng lnfotm.etiot'i         05/30/18      E,C. 61.007       guilt to 1 ccuet unlawfully reveal Ing iefcrmaticn
                                                    Clase                                                                                before the MIis close                                                before the a<:>lls close
                                         Unlawfully Accepting a Voter
                                                                                                                                          3 counts unlawfully                                                 Prosecution Diversion Program - stipulation of
       Dallas       Shirley Brown       not eligible to vote, by election 2016 General Election               CX3852040670                                                    05/31/18      E.C. 63.012
                                                                                                                                           accepting a voter                                                  guilt to 3 counts unlawfully accepting a voter
                                                      iudae
                                                                                                                                        count l - illegal voting,
                                                                                                                                          2nd Degre• Felony;
                                                                                                                                                                                                              Prosecution Diversion Program ... stipulation of
                                        lllegal voting; E:lection Fraud;                                                               Count 2 - election fraud,
      Kenedy       Chriselda Olvera           False Statement on
                                                                             Mar. 201$ Primary
                                                                                                              CX3920309473                       CIA;                         07/0Z/1$
                                                                                                                                                                                            e.c.64.012;       guilt to l count illegal voting, l count ol<,ction
                                                                                  Election                                                                                                276.013; 13.007     fraud, and l count false statement on •
                                            Registration Application                                                                   Count 3 - fal"" statement
                                                                                                                                                                                                              reglstratiM appllcatiM
                                                                                                                                            Ch a registration
                                                                                                                                            application, Cl 6
                                                                                                                                        Count 1 - illegal voting,
                                                                                                                                          2nd Degree Felony;
                                                                                                                                                                                                              Prosecution Diversion Program - stipulation of
                                        Illegal voting; Election Fraud;                                                                 Count 2 - election fraud,
                                                                             Mar. 2018 Primary                                                                                              E.C. 64.012;      guilt to 1 count illegal voting, 1 count election
      Kenedy        Martin Olvera             False Statement on                                              CX8890196392                         CIA;                       06/27/18
                                                                                  Election                                                                                                276.013; 13.007     fraud, and 1 count false statement on a
                                            Registration Application                                                                   Count 3 - false statement
                                                                                                                                                                                                              registration application
                                                                                                                                          on a registration
                                                                                                                                           application, Cl B




                                                                                                                                     Information as of 9/6/2022                                                                                          Page 7




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                                                                                                                             count l - illegal voting,
                                                                                                                               2nd D<,gr<,e Felony;
                                                                                                                                                                                                                    Prose,ution Diversion Program ., stipulation of
                                      lllogal voting; E:lecbon Fraud;                                                       Count 2 - election fraud,
     Kenedy
                  Heather lau ren
                                            False Statem<ant on
                                                                          Mor. 201$ Primary
                                                                                                     CX46412860 29                    CIA;                                           06/05/18
                                                                                                                                                                                                   e.c. ,;4,012:    guilt to 1 count illogal voting, 1 count ol<,ction
                       Millet                                                    El~ct:ion                                                                                                        276.013; 13.007   fraud, and 1 c:ount false !o.tat~me11t c,:n a
                                          Registration Application                                                          Count 3 - false statemont
                                                                                                                                                                                                                    reglstratiM appllcatiM
                                                                                                                                     on a registration
                                                                                                                                      application, Cl B
                                                                                                                             Count 1 - illegal voting,
                                                                                                                                2nd Degree Felony;                                                                  Convicted of unlawfully assisting/influencing voter
                                       Vote Harvesting/Mail Ballot                                                             Count 2 - method of                                                                  with mail ballot (E.C. 64.036); 12 months jail,
   Nueces/ San     Rosita Torres                                            Robstown 2016            5-18-3065-CR;                                                                                 E.C. 64.012;
                                      Fraud/Assistance Fraud/Illegal                                                         returning marked ballot,                                6/12/2018                      probated for 18 months; $1000 fine; 10 days
     Patricio         Flores                                                   General                18-CR-83358                                                                                 86.006; 64.036
                                                  voting                                                                                            SJF                                                             confinement in county jail served day for day as
                                                                                                                                1 count misdemeanor                                                                 condition of probation
                                                                                                                             11nl:::iwfi ii :::i<=:.<=:.i<=:.t:::inr!=>   rl A
                                                                                                                                                                                                                    Prose,ution Diversion Program ., stipulation of
                    Consuelo           Voto Harvosting/Mail Ballot        2016 Primary Runoff                                       2 Counts Unlawful
      Frio                                                                                           CX3772923814                                                                    6/15/2018      E.C. 64.036     guilt to Z Counts unlawful assistanco ta vot<,rs
                 Barrientos Cantu       Fraud/Assistance Fraud                  Electl<:>n                                                  Assistant~
                                                                                                                                                                                                                    with their mail ballots
                                                                                                                                                                                                                    Prosecution Diversion Program - stipulation of
                 Maria Delcarmen       Vote Harvesting/Mail Ballot        2016 Primary Runoff                                       6 Counts Unlawful
      Frio                                                                                           CX3772923814                                                                6   6/15/2018      E.C. 64.036     guilt to 6 Counts unlawful assistance to voters
                       Vela             Fraud/Assistance Fraud                 Election                                                Assistance
                                                                                                                                                                                                                    with their mail ballots
                                       Vat• H•rv•sting/Mail Ballot                                                          l count Fraudulent Us• of                                                               Prosecution Diversion Program -- stipulation of
                                                                          Mar. 2016 Primary
      Starr       Migoel Mor<,no        Fraud , Fraudulent Us• of
                                                                               Election
                                                                                                     CX4341M1207             Application far Ballot by                               6/2$/201$     e.c, e4,0041     guilt ta l count fraudulent use al application far
                                                                                                                                       M ii                                                                           II
                                                                             2016 Primary;                                  1 Count Fraudulent Use of                                                               Prosecution Diversion Program - stipulation of
                  Veronica Flores
      Starr                            Fraud - Fraudulent Use of          2016 Primary Runoff        CX2819749616            Application for Ballot by                               6/25/2018     E.C. 84.0041     guilt to 1 Count fraudulent use of application for
                       Vega
                                      Aoolication for Ballot bv Mail            Election                                               Mail                                                                         ballot bv mail
                                      Vote Harvestieg/Mail Ballot            2016 Primary;                                  1 cau nt Fro ud u l<ant Use of                                                          Prosecution Dlver;;l<:>n Program - stipulation <:>f
      Starr       Abigail Estrada      Fraud - Fraudulent Use <:>f        2016 Primary Runoff        CX79l54l7228            Application for Boll<:>t by                             6/25/2018     E.C. 84,0041     guilt to 1 C<:>unt fraudulent use of application for
                                      Aoolication for 6allot bv M•il            Election                                                M•il                                                                        ba Ilot bv mail
                                      Vote Harvesting/Mail Ballot            2016 Primary;                                  1 Count Fraudulent Use of                                                               Prosecution Diversion Program - stipulation of
      Starr        Dora Barrera        Fraud - Fraudulent Use of          2016 Primary Runoff        CX4 783488382           Application for Ballot by                               6/25/2018     E.C. 84.0041     guilt to 1 Count fraudulent use of application for
                                      Aoolication for Ballot bv Mail            Election                                               Mail                                                                         ballot bv mail
                                       Vote Harvesting/Mail Ballot                                                          1 Count Fraudulent Use of
                                                                             2016 Primary;                                                                                                                          Prosecution Dlver;;l<:>n Program - stipulation <:>f
                  Nitzi• Marbella       Fraud - Fraudulent Use of                                                            Application far Ballot by                                             E,C. 84. 0041;
      Starr                                                               2016 Primary Runoff        CX0l 92300090                                                                   6/25/2018                      guilt to 1 Count fraudulent us• of •pplicatian for
                       Flores         Application far Ballot by Mail;                                                         Mail; z counts Illegal                                                E,C. 64.012
                                                                                 Election                                                                                                                           ballot by mail and 2 Counts Illegal Voting
                                                    IV
                                       Vote Harvesting/Mail Ballot
                                                                             2016 Primary;                                 1 Count Fraudulent Use of                                                                Prosecution Diversion Program - stipulation of
                                        Fraud - Fraudulent Use of                                                                                                                                  E.C. 84.0041;
      Starr        Eusebio Lopez                                          2016 Primary Runoff        CX6220705016           Application for Ballot by                                6/26/2018                      guilt to 1 Count fraudulent use of application for
                                      Application for Ballot by Mail;                                                                                                                               E.C. 64.012
                                                                                Election                                   Mail; 1 Count Illegal Voting                                                             ballot by mail and 1 Count Illegal Voting
                                              Illeaal Votina
                                       Vat• H•rvesting Mai 6a at                                                            l count Frau ulent Use o
                                                                             2016 Prim•ry;                                                                                                                          Prosec:ution Diversion Program ., stipulation of
                                        Fraud , Fraudulent Us• of                                                            Application far Ballot by                                             E,C. 84.0041;
      Starr       Ad<,laid• Lopea                                         2016 Primary Runoff        CX1$97927$03                                                                    6/2!'\/Z0W                     guilt to 1 Count fraudulent uso of application for
                                      Application for l'lallot by Mail;                                                        Mail; Z Counts lll<,gal                                              E,C. 64.012
                                                                                Election                                                                                                                            ballot by mail and 2 Counts lllogal Voting
                                               lllaaal Votina                                                                         Vatlna
                                       Vote Harvesting/Mail Ballot                                                          1 Count Fraudulent Use of
                                                                             2016 Primary;                                                                                                                          Prosecution Diversion Program - stipulation of
                                        Fraud - Fraudulent Use of                                                            Application for Ballot by                                             E.C. 84.0041;
      Starr        Alayssa Lopez                                          2016 Primary Runoff        CX9033550035                                                                    6/26/2018                      guilt to 1 Count fraudulent use of application for
                                      Application for Ballot by Mail;                                                         Mail; 2 Counts Illegal                                                E.C. 64.012
                                                                                Election                                                                                                                            ballot by mail and 2 Counts Illegal Voting
                                              Illeaal Votina                                                                          Votina
                                       Voto Harvosting/Mail Ballot                                                          1 Coont Fraudulent Use of
                                                                             2016 Primary;                                                                                                                          Prose,ution Diversion Program ., stipulation of
                     Zelda s.           Fraud • Fraudulent Use of                                                            Application for Sal lot by                                            E.C. 84. 0041;
      Storr                                                               2016 Primary RuMOff        CX9693226046                                                                    6/25/2018                      guilt ta 1 Count froudul<ant use of application far
                    MaldOMado         AppllcatiOM far Ballot by Mail;                                                         Mail; 2 Counts Illegal                                                E.C. 64.012
                                                                                 El~ct:ion                                                                                                                          ballot by mail and 2 COUMtS Illegal Voting
                                               II       i
                                      Vote Harvesting/Mail Ballot            2016 Primary;                                  1 Count Fraudulent Use of                                                               Prosecution Diversion Program - stipulation of
                  Jose Guadalupe
      Starr                            Fraud - Fraudulent Use of          2016 Primary Runoff        CX0876257916            Application for Ballot by                               6/25/2018     E.C. 84.0041     guilt to 1 Count fraudulent use of application for
                       Garcia
                                      Aoolication for Ballot bv Mail            Election                                               Mail                                                                         ballot bv mail
                                      Vote Harvesting/Mail Ballot            2016 Primary;                                  1 Count Fraud u l<,nt Use of                                                            Prose,ution Diversion Program ., stipulation of
      Storr      Andrea Martine,       Fraud - Fraudulent Use of          2016 Primary RuMOff        CX5913948503            Application far Ballot by                               6/25/2018     E.C. 84.0041     guilt ta 1 Count froudul<ant use of application far
                                      Aoolicatl<:>n for Ballot bv Mail          El~ct:ion                                              Mail                                                                         ba Ilot bv mail
                                      Vote Harvesting/Mail Ballot            2016 Primary;                                  1 Count Fraudulent Use of                                                               Prosecution Diversion Program - stipulation of
      Starr      Rudolfo A. Trevino    Fraud - Fraudulent Use of          2016 Primary Runoff        CX4183309968            Application for Ballot by                               6/26/2018     E.C. 84.0041     guilt to 1 Count fraudulent use of application for
                                      Aoolication for Ballot bv Mail            Election                                               Mail                                                                         ballot bv mail
                                       Voto Harvosting/Mail Ballot
                                                                             2016 Primary;                                 1 Count Fraudulent Use of                                                                Prc,:secutlc,:n Diversion Program - stipul~tiat'i of
                                        Fraud - Fraudulent Use <:>f                                                                                                                                E.C. 84. 0041;
      Storr       Raul La,ano Jr.                                         2016 Primary RuMOff        CX6361275996           Application far Ballot by                                6/26/2018                      guilt ta 1 Count froudul<ant use of application far
                                      AppllcatiOM far Ballot by Mail;                                                                                                                               E,C. 64.012
                                                                                Election                                   Mail; l Count Illegal Voting                                                             ballot by mail and l count Illegal Voting
                                                II        I


                                       Vote Harvesting/Mail Ballot
                                                                             2016 Primary;                                 1 Count Fraudulent Use of                                                                Prosecution Diversion Program - stipulation of
                    Deyla Maria         Fraud - Fraudulent Use of                                                                                                                                  E.C. 84.0041;
      Starr                                                               2016 Primary Runoff        CX2635106999           Application for Ballot by                                6/26/2018                      guilt to 1 Count fraudulent use of application for
                      Garcia          Application for Ballot by Mail;                                                                                                                               E.C. 64.012
                                                                                Election                                   Mail; 1 Count Illegal Voting                                                             ballot by mail and 1 Count Illegal Votirig
                                              Illeaal Votina
                                       Vote Harvestieg/Mail Ballot
                                                                                                                             l Count Falsa Statam•nt                                                                Prosecution Diversion Program -- stipulation of
                                        Fraud • Fraudul•nt Use of             2018 March                                                                                                           E.C, 13.007;
     Kenedy        Lariah Saenz                                                                      CX904l380477             on Application; 1 count                                7/17/2018                      guilt ta l count Falsa Statam•nt on Application
                                      Application far Ballot by Mail;     0!;:;rno,rnti~ Prirnijry
                                                                                                                                         lllegal Voting
                                                                                                                                                                                                    e.c.64,0lZ
                                                                                                                                                                                                                    and 1 Count lllegal Voting
                                                II




                                                                                                                          Information as of 9/6/2022                                                                                                                Page 8




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                                           oe a
                                                                                                                                                                                                        Prosecution Diversion Program - stipulation of
                                           Fraud - Fraudulent Use of             2018 March                                                                                           E.C. 13.007;
      Kenedy           Juan Vela                                                                         CX2940077682             on Application; 3 Counts          4   7/17/2018                       guilt to 1 Count False Statement on Application
                                         Application for Ballot by Mail;      Democratic Primary                                                                                      E.C. 64.012
                                                                                                                                       Illegal Voting                                                   and 3 Counts Illegal Voting
                                                 Illeaal Votina
                                          Vote Harvastiti9/M1ail B1allot
                                                                                                                                  l Count Fals• Stat•m•nt                                               Prosecution Diversion Program -- stipulation of
                                          Fraud • Fraudul•nt Use of               2018 March                                                                                          E.C, 13.007;
     Kenedy        Leticia Munoz V•la                                                                    CX8789204507             on Application; 5 Counts          6   7/17/2018                       guilt ta l count Fals• Stat•m•nt on Application
                                         Application for Ballot by Mail;      0!;:;rno,rnti~ Prirnijry
                                                                                                                                       lllegal Voting
                                                                                                                                                                                      e.c. 64.0tz
                                                                                                                                                                                                        and S Counts lllegal Voting
                                                  II
                                                                                                                                 1 Count False statement
                                                                                                                                 on application; 2 Counts
                                                                                                                                                                                                        Prosecution Diversion Program - stipulation of
                                          Vote Harvesting/Mail Ballot                                                              False information on                             E.C. 13.007; E.C.
                                                                                                                                                                                                        guilt to 1 Count False statement on application; 2
                                           Fraud - Fraudulent Use of             2016 March                                       application for ballot by                           84.0041; P.C.
       Starr       Guadalupe Garza                                                                       CX8930944834                                               6   7/25/2018                       Counts False information on application for ballot
                                         Application for Ballot by Mail;      Democratic Primary                                 mail; 2 Counts Tampering                                 37.10;
                                                                                                                                                                                                        by mail; 2 Counts Tampering with a governmental
                                                 Illegal Voting                                                                    with a governmental                                 E.C. 64.012
                                                                                                                                                                                                        record; 1 Count Illegal Voting
                                                                                                                                  record; 1 Count Illegal
                                                                                                                                           Voting

                                                                                                                                  l count False stat•ment
                                                                                                                                  on application; 2 counts
                                                                                                                                                                                                        Prosec:ution Diversion Program ... stipulation of
                                          Voto Harvosting/Mail Ballot                                                               F~ilse infonnation on                           e.c. 13.007; e.c.   guilt to 1 Count False statemont on application; 2
                     llrandon Leo          Fraud • Fraudulent Use of             2016 March                                       application for ballot by                          $4.0041; P.C.
       Starr                                                                                             CX!'i23Z993$04                                                 7/25/Z0W                        Counts Falso information on application for ballot
                         Gar:t1a         AppllcatiM for Ballot by Mail;       Democratic Primary                                 mail; 2 Counts Tamperieg                                37,10;
                                                                                                                                                                                                        by mail; 2 Counts Tampering with a gov<ammeetal
                                                 Illegal Voting                                                                     with a governmental                               E,C. 64.012
                                                                                                                                                                                                        record; 1 C<:>unt lll<agal Voting
                                                                                                                                   record; l Count Illegal
                                                                                                                                           Voting
                                                                                                                                 Count 1 - carrier envelope                                             Convicted of unlawful possession of a ballot
                                                                                                                                        action, SJF;                                                    (86.006); carrier envelope action other than voter
                                                                                                                                    Count 2 - method of                                                 (86.0051); and unlawfully assisting voter with a
                                         Vote Harvesting/Mail Ballot                                     18-CR-83109;             returning marked ballot,                           E.C. 86.0051;      mail ballot (86.010); sentenced to 180 days jail
   Nueces/ San        Cynthia Kay                                               Robstown 2016
                                        Fraud/Assistance Fraud/Illegal                                   18-CR-83110;                          SJF;                 4   8/14/2018   86.006; 64.036;     probated for 540 days, 180 days probated for 540
     Patricio          Gonzales                                                 Primary Runoff
                                                    voting                                               18-CR-83111             Count 3 - assisting voter,                             64.012          days, and 365 days probated for 540 days and a
                                                                                                                                         SJF; and                                                       $500 fine, respectively, Sentenced to served 5
                                                                                                                                  Count 4 - illegal voting,                                             days county jail, day for day, as condition of
                                                                                                                                    2nd Degree Felony                                                   probation.

                                                                                                                                                                                                        convict•d of two counts of Ili•gal Voting for
                                                                                                                                  Cause 1 - illogal voting -
                     l-aura Janeth                                                                                                                                                                      impE1:rsonating a vot!;:;r and voting wh!;:;n sh!;:; WijS
     Harris/                              !!legal Voting (non•dtiaen);                                   1$·05-06033;               votf::1:r irnp!;:;rsonation;
                   Gacaa AKA Angie                                       2016 General Election                                                                          9/13/201$     E,C, 64.012       not eligible to vote (noncitiaen); 10 yeors TDCJ
   Montgomery                           lml"'rsonatian of a U.S. Citi.en                                 18-05-06032              Cause 2 - Illegal \/0tieg
                    Yad Ira Zamo r1a                                                                                                                                                                    probated for 10 years, with 180 days In Jail as
                                                                                                                                      (Mon-citi,ee)
                                                                                                                                                                                                        coMition, $10 1000 flee probated for 10 years.
                                                                                                                                 1 Count False statement
                                                                                                                                 on application; 2 Counts
                                                                                                                                                                                                        Prosecution Diversion Program - stipulation of
                                          Vote Harvesting/Mail Ballot                                                               False information on                             E.C. 13.007;
                                                                                                                                                                                                        guilt to 1 Count False statement on application; 2
                                           Fraud - Fraudulent Use of             2016 March                                       application for ballot by                          E.C. 84.0041;
       Starr        Artemio Lopez                                                                        CX8019112853                                               8   9/17/2018                       Counts False information on application for ballot
                                         Application for Ballot by Mail;      Democratic Primary                                 mail; 2 Counts Tampering                             P.C. 37.10;
                                                                                                                                                                                                        by mail; 2 Counts Tampering with a governmental
                                                 Illegal Voting                                                                     with a governmental                               E.C. 64.012
                                                                                                                                                                                                        record; 2 Counts Illegal Voting
                                                                                                                                  record; 3 Counts Illegal
                                                                                                                                           Voting
                                        False Statement on Application ·
                                             Mail !lallot Fraud/Vote           2016 D<amocratlc                                   False Statement on Mail                                               convicted <:>f False Statement on Mail Ballot
     T.ertant       Charles Jacksoe                                                                         1565412                                                     4/6/2019      E.C. 84,0041
                                         Harvesting - Forged Voter's           Primary Election                                       Ballot Application                                                Application; sentenced t<:> 10 days county Jail.

                                                                                                                                 2 Counts - Tampering with
                                              Tampering with a
                                                                                                                                 a Governmental Record; 2                                                 Prosecution Diversion Program - stipulation of
                                        Governmental Record; Illegal                                                                                                                   P.C. 37.10;
                                                                                                                                   Counts - Illegal Voting                                              guilt to 2 Counts Tampering with a Governmental
       Polk         William Williams       Voting (voting ballot of     2018 General Election            CX1976897707                                               6   8/5/2019      E.C. 64.012;
                                                                                                                                    (voting mail ballot of                                               Record; 2 Counts Illegal Voting (voting ballot of
                                        another); Election Fraud - Mail                                                                                                               E.C. 276.013
                                                                                                                                    another); 2 Counts -                                                         another); 2 Counts Election Fraud
                                                    Ballot
                                                                                                                                       Election Fraud

                                        Ili•gal Voting/Mail Ballot Fraud ,
                                           Impersonation of dec•as•d                                                             counts 1-2 - Illegal voting                                            Dism'd for lack of evidenoo and in exchange for
                                                                               2016 Democratic                                                                                        E.C, M.012;
   Starr/Hidalgo     Bernice Gar~ij       voter, Mail ballot application                                 CR-0HS-19,J             Count 3 - False Statemont              1/24/Z019                       Defondant's cooperation with the State and an
                                                                               Primary Election                                                                                       E,C. $4-0041
                                        fraud, Mail ballot cast for voter                                                        on Mail Sal lot Application                                            ongoing investigation by the Texas Rangers,
                                             who was dead 9 years
                                            False Statement on                                                                   1 Count - False Statement
                                                                                                                                                                                                        Prosecution Diversion Program - stipulation to the
                                          Registration Application;                                                               on Application, 1 Count                             E.C. 13.007;
                                                                                                                                                                                                        commission of 1 Count False Statement on
      Harris          John Alsup        Tampering with Government            2018 General Election       CX8794422517                Tampering with a                   8/17/2020      P.C. 37.10;
                                                                                                                                                                                                        Application; 1 Count Tampering with a
                                        Record; Election Fraud - False                                                              Government Record,                                E.C. 276.013
                                                                                                                                                                                                        Government Record; 1 Count Election Fraud
                                            Registration Address                                                                   1 Count Election Fraud




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                                     Folse Statement on                                                             1 C<:>unt - False Statement
                                                                                                                                                                                       Prosec:ution Diversion Program ... stipulation to the
                                Registration Application; Illeg•I       2018 Gener•I                                 on Application, 3 Counts                          E.C, 13.007;
                                                                                                                                                                                       commission of l Count False Statement on
                                   Voting; Tampering with               Election; 2019                               Illeg•I Voting; l Count                           E.C, 64.012;
    Hijrris   Setty Andorson                                                                  CXS79442ZS17                                                 8/14/Z020                   Application; 3 Counts lllogal Voting; 1 Count
                                 Government Record; Election           Special Election;                                Tijmpering with a                               P.C. 37.10;
                                                                                                                                                                                       Tarnp!;:!ring with <::1 13overmnl;:lnt Re<:ordi l Co1.mt
                                  fraud , False Registration            2020 Primary                                   Governmemt Re,ord,                              E.C. 276.013
                                                                                                                                                                                       Electl<:>n Fraud
                                            Address                                                                   1 Count Election Fraud
                                    False Statement on                                                              1 Count - False Statement
                                                                                                                                                                                       Prosecution Diversion Program - stipulation to the
                                  Registration Application;                                                          on Application, 1 Count                           E.C. 13.007;
                                                                                                                                                                                       commission of 1 Count False Statement on
    Harris     James Core       Tampering with Government             Voter Registration      CX8794422517              Tampering with a                   8/18/2020    P.C. 37.10;
                                                                                                                                                                                       Application; 1 Count Tampering with a
                                Record; Election Fraud - False                                                         Government Record,                              E.C. 276.013
                                                                                                                                                                                       Government Record; 1 Count Election Fraud
                                    Registration Address                                                              1 Count Election Fraud

                                     Falso Statoment on                                                             1 Count , False Statement
                                                                                                                                                                                       Prose,ution Diversion Program ... stipulation to the
                                Registration Application; lllegal                                                     on Application, 1 Count                          E.C, D.007;
                                                                                                                                                                                       oommission of 1 Cduht False Statement at1
                                   voting; Tampering with                                                            lll<agal Voting; 1 COUMt                          E.C 64.012;
    Harris    Michael Debello                                        2018 G,meral El<action   CX8794422517                                             4   8/12/2020                   AppllcatiOM; 1 COUMt Illegal Voting; 1 C<:>unt
                                Government Rec:ard( El~ctiot1                                                             Tampering with a                              P.C. 37,10;
                                                                                                                                                                                       Tampering with a Government Record; 1 Cout1t
                                  Fr•ud • F•lse Registration                                                           Government Record1                              E.C. 276.013
                                                                                                                                                                                       Election Fraud
                                           Address                                                                    l count Election Fraud
                                      False Statement on                                                            1 Count - False Statement
                                                                                                                                                                                       Prosecution Diversion Program - stipulation to the
                                Registration Application; Illegal                                                    on Application, 1 Count                           E.C. 13.007;
                                                                                                                                                                                       commission of 1 Count False Statement on
                                   Voting; Tampering with                                                            Illegal Voting; 1 Count                           E.C. 64.012;
    Harris    Name Removed                                        2018 General Election       CX87944225--                                             4   8/17/2020                   Application; 1 Countl Illegal Voting; 1 Count
                                 Government Record; Election                                                            Tampering with a                                P.C. 37.10;
                                                                                                                                                                                       Tampering with a Government Record; 1 Count
                                  Fraud - False Registration                                                           Government Record,                              E.C. 276.013
                                                                                                                                                                                       Election Fraud
                                            Address                                                                   1 Count Election Fraud
                                     Folse Statement on                                                             1 C<:>unt - False Statement
                                                                                                                                                                                       Prosecution Diver;;l<:>n Program - stipulation to the
                                Registration ApplicatiM; Illegal                                                     OM Application, 2 COUMts                          E.C. 13.007 1
                                                                        2018 General                                                                                                   commission of l Count False Statement on
                                   Voting; Tampering with                                                            Illeg•I Voting; l Count                           E.C, 64.012;
    Harris     6rian Hoffner                                            Election; 2018        CX879442Z5l7                                                 8/14/2020                   Application; 2 counts Illegal Voting; l count
                                Government Record; Election                                                              Tampering with a                               P.C. 37,10;
                                                                        Primary Runoff                                                                                                 Tampering with a <,overnmont Record; l Count
                                  fraud , False Registration                                                           Governmemt Re,ord,                              E.C. 276.013
                                                                                                                                                                                       El<,ction Fraud
                                           Addross                                                                    1 Count Election Fraod
                                    False Statement on                                                              1 Count - False Statement
                                                                                                                                                                                       Prosecution Diversion Program - stipulation to the
                                  Registration Application;                                                          on Application, 1 Count                           E.C. 13.007;
                                                                                                                                                                                       commission of 1 Count False Statement on
    Harris     Micaela Lad et   Tampering with Government             Voter Registration      CX8794422517              Tampering with a                   8/18/2020    P.C. 37.10;
                                                                                                                                                                                       Application; 1 Count Tampering with a
                                Record; Election Fraud - False                                                         Government Record,                              E.C. 276.013
                                                                                                                                                                                       Government Record; 1 Count Election Fraud
                                    Registration Address                                                              1 Count Election Fraud

                                      Folse Statement on                                                            1 C<:>unt - False Statement
                                                                                                                                                                                       Prosec:ution Diversion Program ... stipulation to the
                                   Registration Application;                                                         on Application, 1 Count                           E.C, 13.007;
                                                                                                                                                                                       commission of l Count False Statement on
    Harris      David Levy       Tampering with Government            Voter Registration      CX8794422517               Tampering with a                  8/14/2020    P.C. 37,10;
                                                                                                                                                                                       Application; l Count Tampering with a
                                Record; Eloctio n Fm ud • fa Is"                                                       Governmemt Re,ord,                              E.C. 276.013
                                                                                                                                                                                       Government Record; 1 Count Election fraud
                                    Registration Address                                                              1 Count Election Fraod
                                    False Statement on                                                              1 Count - False Statement
                                                                                                                                                                                       Prosecution Diversion Program - stipulation to the
                                  Registration Application;                                                          on Application, 1 Count                           E.C. 13.007;
                                                                                                                                                                                       commission of 1 Count False Statement on
    Harris       Kyle Levy      Tampering with Government             Voter Registration      CX8794422517              Tampering with a                   8/14/2020    P.C. 37.10;
                                                                                                                                                                                       Application; 1 Count Tampering with a
                                Record; Election Fraud - False                                                         Government Record,                              E.C. 276.013
                                                                                                                                                                                       Government Record; 1 Count Election Fraud
                                    Registration Address                                                              1 Count Election Fraud

                                     Folse Statement on                                                             1 C<:>unt - False Statement
                                                                                                                                                                                       Prosec:ution Diversion Program ... stipulation to the
                                Registration Application; Illeg•I                                                    on Application, 2 Counts                          E.C, 13.007;
                                                                                                                                                                                       commission of l Count False Statement on
                                   Voting; Tampering with                                                             Illegal Voting, l count                          E.C, 64.012;
    Hijrris   Nam• Romov<,d                                       2019 $p<,dal Eloction                                                                    8/U/Z020                    Application; 2 Counts lllogal Voting; 1 Count
                                 Government Record; Election                                                            Tijmpering with a                               P.C. 37.10;
                                                                                                                                                                                       Tam poring with a <,overnmont Record; 2 Counts
                                  fraud , False Registration                                                           Governmemt Re,ord,                              E.C. 276.013
                                                                                                                                                                                       Electl<:>n Fraud
                                            Address                                                                  2 Counts Election Fraud
                                      False Statement on                                                            1 Count - False Statement
                                                                                                                                                                                       Prosecution Diversion Program - stipulation to the
                                Registration Application; Illegal                                                    on Application, 1 Count                           E.C. 13.007;
                                                                                                                                                                                       commission of 1 Count False Statement on
                                   Voting; Tampering with                                                             Illegal Voting, 1 Count                          E.C. 64.012;
    Harris     Barnett Pate                                       2018 General Election       CX8794422517                                             4   8/18/2020                   Application; 1 Count Illegal Voting; 1 Count
                                 Government Record; Election                                                            Tampering with a                                P.C. 37.10;
                                                                                                                                                                                       Tampering with a Government Record; 1 Count
                                  Fraud - False Registration                                                           Government Record,                              E.C. 276.013
                                                                                                                                                                                       Election Fraud
                                            Address                                                                   1 Count Election Fraud

                                      False Statem<ant on                                                           1 Count - Fels• Stat<ament
                                                                                                                                                                                       Prosecution Diversion Program -- stipulaitiat'i to the
                                   Registration Application;                                                         on Application, l Count                           E.C, 13.007;
                                                                                                                                                                                       commission of 1 count False Statement at1
    Harris      John Scott       Tampering with Government            Voter Registration      CX879442Z5l7              Tampering with a                   8/19/2020    P,C, 37,10;
                                                                                                                                                                                       Application; 1 Count Tampering with a
                                R<,oorci; Election Fro uci • False                                                     Government Recordl                              E.C. 276,013
                                                                                                                                                                                       Governm<,nt Rocord; l Coont El<,ction Fraud
                                     Registration Acidr<,ss                                                           l Count Election Fraud




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                                       False Statement on                                                                      1 Count - False Statement
                                                                                                                                                                                                       Prosecution Diversion Program - stipulation to the
                                     Registration Application;                                                                  on Application, 1 Count                               E.C. 13.007;
                                                                                                                                                                                                       commission of 1 Count False Statement on
     Harris     Aaron Sprecher     Tampering with Government                   Voter Registration       CX8794422517               Tampering with a                    8/20/2020       P.C. 37.10;
                                                                                                                                                                                                       Application; 1 Count Tampering with a
                                   Record; Election Fraud - False                                                                 Government Record,                                  E.C. 276.013
                                                                                                                                                                                                       Government Record; 1 Count Election Fraud
                                       Registration Address                                                                      1 Count Election Fraud

                                        Falso Stotoment on                                                                     1 Count , False Statement
                                                                                                                                                                                                       Prose,ution Diversion Program ., stipulation to the
                                      Registration Application;                                                                 on Application, 1 Count                               E:.C, 13.007;
                                                                                                                                                                                                       oommission of 1 Cduht False Statement at1
     Harris     Justin Thomas       T.emp~rihg with Govemme:ht                 Voter Registration       CX8794422517               Tampering with a                    8/12/2020       P.C. 37,10;
                                                                                                                                                                                                       AppllcatiM; 1 COUMt TamperiMQ with a
                                   R<aoord; Election Fraud - Fa Isa                                                               Government Record,                                  E.C. 276.013
                                                                                                                                                                                                       Government Record; 1 count Election Fraud
                                       Registration Address                                                                      l count Election Fraud

                                       False Statement on                                                                      1 Count - False Statement
                                                                                                                                                                                                       Prosecution Diversion Program - stipulation to the
                                     Registration Application;                                                                  on Application, 1 Count                               E.C. 13.007;
                                                                                                                                                                                                       commission of 1 Count False Statement on
     Harris     Name Removed       Tampering with Government                   Voter Registration                                  Tampering with a                    8/21/2020       P.C. 37.10;
                                                                                                                                                                                                       Application; 1 Count Tampering with a
                                   Record; Election Fraud - False                                                                 Government Record,                                  E.C. 276.013
                                                                                                                                                                                                       Government Record; 1 Count Election Fraud
                                       Registration Address                                                                      1 Count Election Fraud

                                         False Statement an                                                                    1 count , False Statement
                                                                                                                                                                                                       Ptosec:ution Diversion Program ., stipulation to the
                                       Registration Application;                                                                on Application, 1 Count                               E.C, U.007;
                    Judith                                                                                                                                                                             commission of l Count Folse Statem<,nt on
     Harris                         Tijrnpering with Governmf::1:nt            Voter Rogistrotion       CX$794422S17               Tijmpering with a                   9/2/ZOZO        P.C. 37,10;
                 Zimmerman                                                                                                                                                                             Application; l Count Tampering with •
                                   Record; Eloctio n Fm ud , fa Is"                                                               Governmemt Re,ord,                                  E.C. 276.013
                                                                                                                                                                                                       Gti:vernm~nt Record; 1 Cduht El~ctioh Fr.eud
                                       ReglstratiM Addr<ass                                                                      l Count Election Fraud
                                         False Statement on                                                                    1 Count - False Statement
                                                                                                                                                                                                       Prosecution Diversion Program - stipulation to the
                                   Registration Application; Illegal                                                            on Application, 2 Counts                              E.C. 13.007;
                                                                         2018 General                                                                                                                  commission of 1 Count False Statement on
                   Antonia            Voting; Tampering with                                                                     Illegal Voting, 1 Count                              E.C. 64.012;
     Harris                                                          Election;         2019             CX8794422517                                                   8/21/2020                       Application; 2 Counts Illegal Voting; 1 Count
                  Mcclammy          Government Record; Election                                                                      Tampering with a                                  P.C. 37.10;
                                                                        Special Election                                                                                                               Tampering with a Government Record; 1 Count
                                     Fraud - False Registration                                                                   Government Record,                                  E.C. 276.013
                                                                                                                                                                                                       Election Fraud
                                               Address                                                                           1 Count Election Fraud

                                        False Statem<ant on                                                                    1 Count - False Stat<ament
                                                                                                                                                                                                       Prosecution Diversion Program -- stipulation to the
                                   Registration Application; Ill•gal                                                            on App:lic:ation, l count                             E.C, 13.007;
                                                                                                                                                                                                       commission of 1 count False Statement an
                                       Voting; Tampering with                                                                    Illegal Voting, l count                              E.C, 64.012;
     Harris        Luis Cru,                                                  201$ G<,nerol El<,ction   CX$794422S17                                              4    $/20/2020                       Application; l Count lllegal Voting; 1 Coont
                                    Govemmont Record; El<,ction                                                                      Tampering with a                                  P.C. 37,10;
                                                                                                                                                                                                       Tampering with a Government R,<,cord; l Count
                                     Fraud   r   Fal$!:::! R!:::!gi$tretion                                                       Government R!:::!cord~                              E.C. 276.013
                                                                                                                                                                                                       El~ctiOh Fr.eud
                                                  Address                                                                        1 COUMt Election Fraud
                                                                                                                                                                                                       Prosecution Diversion Program - stipulation to the
                                   Unlawfully Assisting Voters with             2020 Presidential                                 10 Counts Unlawfully
    Medina       A. Hitzfelder                                                                          CX8093477769                                              10   05/19/21       E.C. 84.003      commission of 10 Counts Unlawfully Assisting
                                       Mail Ballot Applications                     Election                                       Assisting Applicant
                                                                                                                                                                                                       APPiicant
                                                                                                                               1 Count - False Stat<ament
                                        False Statement an                                                                                                                                             Prosecution Diversion Program -- stipulation to the
                                                                                                                                on App:lic:ation, l count                             E.C, 13.007;
                                   Registration Application; Illegal                                                                                                                                   commission of 1 count False Statement an
                  Christopher                                                                                                    Illegal Voting, l count                              E.C, 64.012;
    Lubbock                            Voting; Tarnp!;:;ring with             201$ G<,nerol El<,ction   CX$7643 5$$4$                                             4    09/0Z/Zl                        Application; l Count lllegal Voting; 1 Coont
                   Donayre                                                                                                           Tampering with a                                  P.C. 37,10;
                                    Government Record; Election                                                                                                                                        Tampering with a Government R,<,cord; l Count
                                                                                                                                  Government Record~                                  E.C. 276.013
                                             Fraud                                                                                                                                                     El~ctiOh Fr.eud
                                                                                                                                 1 COUMt Election Fraud
                                                                                                                               2 Counts - Illegal Voting, 1
                                   Illegal Voting; Election Fraud;                                                              Count - Election Fraud, 1                                              Prosecution Diversion Program - stipulation to the
                                                                                                                                                                                      E.C. 13.007;
                                         False Statement on            2018 General                                             Count - False Statement                                                commission of 1 Count False Statement on
                                                                                                                                                                                      E.C. 64.012;
   Guadalupe   Gregory Gilcrease       Registration Application;   Election;        2020                CX3419210173                on Registration                    10/28/21                        Application; 2 Counts Illegal Voting; 1 Count
                                                                                                                                                                                       P.C. 37.10;
                                   Tampering with a Government        General Election                                            Application, 1 Count                                                 Tampering with a Government Record; 1 Count
                                                                                                                                                                                      E.C. 276.013
                                                Record                                                                             Tampering with a                                                    Election Fraud
                                                                                                                                  C::nvi:>rnmi:>nt Rt:>rnrrl
                                                                                                                                 l count of Engaging in
                                                                                                                                Organiaed E:lection Fraud
                                                                                                                                     (F2), 7 c<:>unts of
                                                                                                                                  Fraudulent Us<a of an
                                                                                                                                Application for Ballot by
                                                                                                                                                                                                     convicted of E.C. 276.013 Election Fraud, and
                                                                                                                                  Mail (F3), 2 counts al                             E,C. 276,011;
               Shannon Ev<,rette Organized Election fraud , Vote                201$ Democratic                                                                                                      s<,nt<,nced to 1 yr county jail, probated for l yr.
    Gregg'                                                                                                S09SHl                 Unlawful Poss<,ssion of          23   1/20/ZOZZ   $4.0041; $$,006;
                    erown                  Harvesting                                Primary                                                                                                         and $2,000 fin<,, Public apology r<,qoired as
                                                                                                                                  6allot(6allot onvolope                           27$,013; PC 37,10
                                                                                                                                                                                                     coMition of plea deal.
                                                                                                                               (SJF), 8 counts <:>f ElectiOM
                                                                                                                               Fraud (SJF), and s counts
                                                                                                                                   al Tampering with a
                                                                                                                                 Governmental Record
                                                                                                                                           (SlF)




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                                                                                                                                  1 count of Engaging in
                                                                                                                                Organized Election Fraud
                                                                                                                                  (Fl), 1 count of Illegal
                                                                                                                                Voting (F2), 31 counts of
                                                                                                                                   Fraudulent Use of an
                                                                                                                                Application for Ballot by                                         E.C. 276.011;     Convicted of E.C. 276.013 Election Fraud, and
                  Marlena Roseanne Organized Election Fraud - Vote         2018 Democratic                                         Mail (F3), 7 counts of                                       64.012; 84.0041;    sentenced to 1 yr county jail, probated for 1 yr,
                                                                                                         50949-B                                                 97             1/20/2022
                       Jackson               Harvesting                        Primary                                           Unlawful Possession of                                         86.006; 276.013;    and $2,000 fine. Public apology required as
                                                                                                                                  Ballot/Ballot Envelope                                            PC37.10         condition of plea deal.
                                                                                                                                    (SJF), 31 counts of
                                                                                                                                Election Fraud (SJF), and
                                                                                                                                 26 counts of Tampering
                                                                                                                                   with a Governmental
                                                                                                                                        Record (SlF/
                                                                                                                                Organiaed E:lecbon Fraud
                                                                                                                               (f>), 1 count of Fraudulent
                                                                                                                                 Use of an Application for
                                                                                                                                  Ballot by Mall (SJF), 5
                                                                                                                                                                                                 E.C. 276.0ll;      canvict•cl of E.C. 86.006 Unlawful Possession of
                   Charlia Burns, Jr. Organized Election Fraud • Vote      2018 Democratic                                          counts of unlawlu I
                                                                                                         50951-El                                                               1/27/2022       84.0041; 86.006;    Ballot with Intent to D•lraud. sentenced to l yr
                                                Harvosting                     Primary                                               Possession af a
                                                                                                                                                                                                27!'L0D; PC 37,10 oounty jail, probated for l yr,
                                                                                                                                 6allo(f6allot onvolope
                                                                                                                                 (SJF), and 1 count of
                                                                                                                                   Tampering with a
                                                                                                                                 Governm~ntal Recd:rd

                                                                                                                                   1 count Engaging in
                                                                                                                                Organized Election Fraud
                                                                                                                                (Fl), 1 count of Unlawful
                                                                                                                                 Possession of Ballot or
                                                                                                                                                                                                                    Convicted of E.C. 86.006 Unlawful Possession of
                                     Organized Election Fraud - Vote       2018 Democratic                                      Carrier Envelope without                                          E.C. 276.011;
       Greggc       Dewayne Ward                                                                         50947-B                                                                1/31/2022                           Ballot with Intent to Defraud. Sentenced to 1 yr
                                               Harvesting                      Primary                                          the Consent of the Voter                                              86.006
                                                                                                                                                                                                                    county jail, probated for 1 yr,
                                                                                                                                    (F2), and 4 counts
                                                                                                                                 Unlawful Possession of
                                                                                                                                  Ballot/Ballot Envelope
                                                                                                                                           (SJF)
                                                                           2018 Republican                                                                                                                          Prosecution 0Iver;;Ic,n Program - l count Illegal
       Bexar        Oz:uki Trevino             Illegal Voting                                         CR· 21·0000047           1 count Illegal Voting (F2)                      3/8/2022          E.C. 64.0l2(b)
                                                                               Primar                                                                                                                               Votin
                                                                                                                                 1 count of Aggravated
                                                                                                                                   Perjury, 1 count of
                                      Tampering with Government           2017 City of Cibolo                                                                                                                        Pied Guilty to 1 count Aggravated Perjury (F3)
                                                                                                                               Tampering w/Government
                     Stan "Stash"       Record - Application for              Election;               19-2108-CR-C;                                                                                 P.C. 37.03;      and 1 count Tampering with a Government Record
     Guadalupe                                                                                                                   Record with Intent to                          4/12/2022
                        Boyle              Candidacy - Felony             2019 City of Cibolo          CCL-19-0809                                                                                  P.C. 37.10       with Intent to Defraud (SJF). Placed on 4-year
                                                                                                                                  Defraud, 1 count of
                                      Conviction/Ineligible for Office         Election                                                                                                                              deferred adjudication probation.
                                                                                                                                   Tampering with a

                                           Unlawfully Rovealing
                                                                                                                                    s counts Unlawfully                                                                 Pros!;:;~Ution Diversion Program ~ S <::ounts
                                                                                                                                  Revealing Information
     Brewsterc      loan Johnson       lnfonnation Beforo the Polls      2022 Primary olection        CXS137l2465S
                                                                                                                                Ile/ore the Polls Close (Cl
                                                                                                                                                                               $/10/ZOZZ           e,c. 61.007       Unlawfully Revoaling lnforrnation llefore tho Polls
                                                  Close                                                                                                                                                                                      Close
                                                                                                                                            Al


                                                                                                                               Total Counts/ Offenses
                                                                                                                                                                 696
                                                                                                                                      Prosecuted
                                                                                                                                   Mail Ballot Fraud             444              64%          Note: significant overlap in fraud activity involving (two or more of)
                                                                                                 Number of offenses related        Assistance Fraud              169              24%          mail ballot fraud, assistance fraud, and illegal voting in the same case
                                                                                                    to cases involving:              Illegal Voting              189              27%          ma result in totals> 100%.

                                                                                                                                     2015-present                434

   a County offense occurred/County offense prosecuted.   I ° For complete information on disposition, see judgment and sentence. Prosecution Diversion Program includes an acknowledgment of the commission of offense/s.
   c Prosecutedby or with assistance of local district/county attorney. I d Cause number, where available; otherwise, OAG investigation or prosecution case number.
   This document is not a summary of all election violations in this state. This document does not record or report offenses handled exclusively by local law enforcement, district or county attorneys, or federal authorities. This document
   only reflects cases investigated and/or prosecuted by the OAG.




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                                                                                                            L
                                                                                                   CR-18-08299-G;
                                                                                                   CR-18-08300-G;
                                                                                                   CR-18-08301-G;           Misdemeanor cases 1-10 -
                                  Unlawfully assisting/influencing    2016 City of Hidalgo         CR-18·08302-G;         Unlawfully Assisting/influencing
    Hidalgo   Marcela Gutierrez                                                                                                                              11   6/1/2018    E.C. 64.036; 64.012
                                      voters; illegal voting            Runoff Election            CR-18-08303-G;                     Voters;
                                                                                                   CR-18-08304-G;         Felony count 1 • Illegal Voting
                                                                                                   CR-18-08305-G;
                                                                                                   CR-18-08306-G;




                                                                                                   CR-18·08167-H;
                                  Unlawfully assisting/influencing    2016 City of Hidalgo         CR-18-08168-H;             Counts 1-4 - unlawfully
    Hidalgo     Sylvia Arjona                                                                                                                                4    5/31/2018       E.C. 64.036
                                              voters                    Runoff Election            CR-18-08169-H;           assisting/influencing voters
                                                                                                   CR-18-08295-H




                Laura Parra       Application; Vote Harvesting/Mail                                    1565155                                                                   E.C. 84.0041
                                                                                                                                 Ballot Application
                                             Ballot Fraud




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                                  Election Fraud - False Statement to
    Harris'   Anthony Rodriguez                                         2018 General Election          1629438             Counts 1·2 • Election Fraud   2   4/26/2019    E.C. 275.013
                                            Election Official




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                                                                                                                               1 count Engaging in Organized
                                                                                                                                Election Fraud (Fl), 9 counts
                                                                                                                                Illegal Voting (F2), 15 counts
                                                                                                                                    Unlawful Possession of
                                                                                                                              Ballot/Ballot Envelope Enhanced
                                                                                                                             (SJF), 3 counts Purportedly Acting                      E.C. 276.011; E.C.
                                                                                                                                 as an Agent (F3), 5 counts                         64.012; E.C. 86.006;
    Medina/                            Organized Election Fraud - Vote                                                           Tampering w/Government                               E.C. 13.006; P.C.
                 Eva Ann Martinez                                          2018 Republican Primary       CR21-022                                                  64   2/9/2021
   Banderaa                                      Harvesting                                                                    Document w/Intent to Harm or                         37.10; E.C. 276.013;
                                                                                                                             Defraud (SJF), 14 counts Election                       E.C. 84.0041; E.C.
                                                                                                                              Fraud Enhanced {SJF), 4 counts                               86.010
                                                                                                                                Fraudulent Use of Mail Ballot
                                                                                                                               Application Enhanced (F3), 13
                                                                                                                             counts Unlawfully Assisting Voter
                                                                                                                               Voting Ballot by Mail Enhanced
                                                                                                                                              F3




                                                                                                                                1 count Engaging in Organized
                                                                                                                                 Election Fraud (Fl); 9 counts
                                                                                                                                 Illegal Voting {F2); 2 counts
                                                                                                                                     Unlawful Possession of
                                                                                                                               Ballot/Ballot Envelope Enhanced
                                                                                                                                                                                     E.C. 276.011; E.C.
                                                                                                                              (SJF); 1 count Fraudulent Use of
                                                                                                                                                                                    64.012; E.C. 86.006;
   Medina/                             Organized Election Fraud - Vote                                                        Mail Ballot Application Enhanced
               Mary Jane Balderrama                                        2018 Republican Primary       CR21-020                                                  25   2/9/2021      P.C. 37.10; E.C.
   Bandera'                                      Harvesting                                                                  (F3); 2 Counts Unlawfully Assisting
                                                                                                                                                                                        276.013; E.C.
                                                                                                                                  Voter Voting Ballot by Mail
                                                                                                                                                                                    84.0041; E.C. 86.010
                                                                                                                                    Enhanced (F3); 2 counts
                                                                                                                                   Tampering w/Government
                                                                                                                              Document with Intent to Harm or
                                                                                                                              Defraud (SJF); 8 counts Election
                                                                                                                                     Fraud Enhanced {SJF)




                                                                                                                             counts Unlawful Possession of Vote
                                                                                                                                                                                        E.C. 64.012;
                                                                                                                               by Mail Enhanced (F3);       8
                                      Vote Harvesting, Assistance Fraud,   2018 Victoria Co Water                                                                                       E.C. 86.006;
    Victoria      Monica Mendez                                                                        21-06-32996-A           counts Unlawful Possession of       26   7/15/2021
                                         Illegal Voting, Election Fraud       District Election                                                                                         E.C. 86.010;
                                                                                                                              Ballot/Ballot Envelope Enhanced
                                                                                                                                                                                        E.C. 275.013
                                                                                                                               (SJF); 8 counts Election Fraud




                                                Illegal Voting                                                                   2 counts Illegal Voting (F2)      2                    E.C. 54.012




                                                                                                Information as of 9/6/2022                                                                   Page 4



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                                                                                                  Office of the Attorney General of Texas
                                                                                                          Election Fraud Violations
                                                                                                            Prosecutions Pending




                                                                                                                                     Total Counts/ Offenses Pending
                                                                                                                                                                                 401
                                                                                                                                     Prosecution

                                                                                                             Num er o o enses               Mail Ballot Fraud                    287                   72%
                                                                                                              related to cases              Assistance Fraud                      18                   4%
                                                                                                                 involving:                  Illegal Voting                       58                   14%


  'County offense occurred/County offense prosecuted. I b Investigated by local law enforcement and referred to OAG for prosecution I 'Prosecuted by or with assistance of local district/county attorney.

  This document is not a summary of all election violations in this state. This document does not record or report offenses handled exclusively by local law enforcement, district or county attorneys, and federal
  authorities. This document only reflects cases investigated and/or prosecuted by the OAG.




                                                                                                        Information as of 9/6/2022                                                                              Page 5



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